            Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 1 of 87

                                                                                   FILED
                                                                                U.S. DISTRICT COURT --.
                                                                            EASTERN DISTRICT ARKANSAS
                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS                            MAR 2 7 2020
                                  CENTRAL DIVISION

ARTHUR CARSON
                                                                         ~~~~ M~~;bRK'.
                                                                           ·PL~CLERK

       vs.                            Case No.   4.'Jo-CV-343-Df>M
WOLFE STREET FOUNDATION,
INC.,VICKIE SIEBENMORGE}lq1;iis case assigned to District J u d g e ~
and JAMES BOWLING         and to Magistrate Judge         l<t4Jv\.f;i DEFENDANTS


                                  NOTICE OF REMOVAL

       COME Defendants, Wolfe Street Foundation, Inc., Vickie Siebenmorgen, and James

Bowling, pursuant to 28 U.S.C. §§ 1441 and 1446, and for their Notice of Removal of this action

from the Circuit Court of Pulaski County, Arkansas, to the United States District Court for the

Eastern District of Arkansas, Little Rock Division, based on federal question jurisdiction, 28

U.S.C. § 1331, do hereby state:

       1.       This action was commenced on March 10, 2020, when Plaintiff filed his

Complaint with Jury Demand citing to, inter alia, 42 U.S.C. § 1983, 29 U.S.C. § 654, and 29

U.S.C. § 203, in the Circuit Court of Pulaski County, Arkansas.

       2.       This action is pending in Pulaski County Circuit Court Case No. 60CV-20-1941,

captioned Arthur Carson v. Wolfe Street Foundation, Vickie Siebenmorgen, James Boiling.

       3.       Plaintiff caused summonses to issue on March 16, 2020, and allegedly served

Defendants with a Complaint with Jury Demand on or about March 20, 2020.

       4.       Pursuant to 28 U.S.C. §§ 1331, 1441 and 1446, Defendants file this Notice of

Removal of the state court civil action that is described below, based on federal question

jurisdiction. 28 U.S.C. § 1331.

       5.       This Notice of Removal is timely filed under 28 U.S.C. § 1446(b) having been
            Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 2 of 87




filed within thirty (30) days of Defendants' receipt (and alleged service) of Plaintiffs Complaint

with Jury Demand.

       6.      A copy of the Notice of Removal is being filed with the Circuit Court of Pulaski

County in the underlying matter and a copy of the Notice of Removal is attached hereto as

Exhibit A.

       7.       Copies of all pleadings and process filed in this action with the Pulaski County

Circuit Court are attached hereto as Exhibit B.

       8.       In his Complaint for Jury Demand, plaintiff claims the Pulaski County Circuit

Court has jurisdiction pursuant to, inter alia, 42 U.S.C. § 1983, 29 U.S.C. § 654, and 29 U.S.C. §

203.

       9.       This Court has original jurisdiction over this civil action under 28 U.S.C. § 1331

because the basis of Plaintiffs allegations is a violation of the laws of the United States.

        10.     This Court is the appropriate Court for removal of this action under 28 U.S.C.

§ 1446(a).

        11.     The United Stated District Court for the Eastern District of Arkansas, Little Rock

Division, embraces Pulaski County Circuit Court, the county in which the state court action is

now pending. Thus, this action may be removed to this Court pursuant to 28 U.S.C. § 1441.

        12.     All Defendants consent to removal, and the undersigned counsel represents all

Defendants in this matter.

        13.     Undersigned counsel states that this removal is well grounded in fact, warranted

by existing law, and not interposed for an improper purpose.

       Therefore, Defendants, Wolfe Street Foundation, Inc., Vickie Siebenmorgen, and James

Bowling, give notice of removal of this action to this Court and respectfully requests that this



                                                  2
         Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 3 of 87




Court grant these Defendants all just and proper relief.


                                              Respectfully submitted,

                                              BARBER LAW FIRM PLLC
                                              425 W. Capitol Avenue, Suite 3400
                                              Little Rock, AR 72201
                                              501-372-6175
                                              501-375-2802:fax          II. 4 ,
                                              By:    Se,IJ     CN       l,l,,!._~
                                                      Brent Wakefield AR  BIN 99144
                                                      ATTORNEY FOR DEFENDANTS
                                                      brent. wakefield@barberlawfirm.com


                                    CERTIFICATE OF SERVICE

        I, S. Brent Wakefield, hereby state that on this 27 th day of March, 2020, I have
electronically filed the foregoing with the Clerk of the Court using the CM/ECF system, and the
foregoing shall be sent via email to plaintiff, proceeding pro se herein.

Arthur Carson
10434 W 36th Street #10-B
Little Rock, AR 72204
artcarson67@gmail.com



                                                St,\.} 1W
                                              S. Brent Wakefield
                                                                   ~¾--A_,,    -




                                                 3
            Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 4ELECTRONICALLY
                                                                    of 87         FILED
                                                                                       Pulaski County Circuit Court
                                                                                 Terri Hollingsworth, CircuiVCounty Clerk
                                                                                    2020-Mar-24 16:03:51
                                                                                       S0CV-20-1941
              IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKA                              C06D12: 3 Pages
                                CIVIL DIVISION

ARTHUR CARSON                                                                        PLAINTIFF

        vs.                            Case No. 60CV-20-1941

 WOLFE STREET
 FOUNDATION, INC.,VICKIE
 SIEBENMORGEN, and JAMES                                                        DEFENDANTS
 BOWLING

                                   NOTICE OF REMOVAL

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jurisdiction. 28 U.S.C. § 1331.

       5.       This Notice of Removal is timely filed under 28 U.S.C. § 1446(b) having been filed

within thirty (30) days of Defendants' receipt (and alleged service) of Plaintiffs Complaint with




                                                                                 EXHIBIT "A"
            Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 5 of 87



Jury Demand.

       6.       A copy of the Notice of Removal is being filed with the Circuit Court of Pulaski

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       9.       This Court has original jurisdiction over this civil action under 28 U.S.C. § 1331

because the basis of Plaintiffs allegations is a violation of the laws of the United States.

       10.      This Court is the appropriate Court for removal of this action under 28 U.S.C.

§ 1446(a).

        11.     The United Stated District Court for the Eastern District of Arkansas, Little Rock

Division, embraces Pulaski County Circuit Court, the county in which the state court action is now

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        13.     Undersigned counsel states that this removal is well grounded in fact, warranted by

existing law, and not interposed for an improper purpose.

       Therefore, Defendants, Wolfe Street Foundation, Inc., Vickie Siebenmorgen, and James

Bowling, give notice of removal of this action to this Court and respectfully requests that this Court

grant these Defendants all just and proper relief.


                                               Respectfully submitted,


                                                     2
         Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 6 of 87




                                             BARBER LAW FIRM PLLC
                                             425 W. Capitol A venue, Suite 3400
                                             Little Rock, AR 72201
                                             501-372-6175
                                             501-375-2802 = fax

                                             By: Isl S. Brent Wakefield
                                                    S. Brent Wakefield AR BIN 99144
                                                    A ITORNEY FOR DEFENDANTS
                                                    brent. wake fie ld@barber lawfirm. com


                                   CERTIFICATE OF SERVICE

        I, S. Brent Wakefield, hereby state that on this 24th day of March, 2020, I have
electronically filed the foregoing with the Clerk of the Court using the CM/ECF system, which
shall send notification of such filing to the following or otherwise be forwarded via U.S. Mail to
plaintiff, proceeding pro se herein.

 Arthur Carson
 10434 W 36th Street #10-B
 Little Rock, AR 72204
 artcarson6 7@gmail.com


                                                    Isl S. Brent Wakefield




                                                3
                   Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 7 of 87

3/25/2020                                                            - Not an Official Document


  ReP-ort Selection Criteria

    Case ID:            60CV-20-1941
    Citation No:
    Docket Start Date:
    Docket Ending Date:


  Case DescriP-tion

    Case ID:         60CV-20-1941 -ARTHUR CARSON V WOLFE STREET FOUNDATION ET AL-NON-
                     TRIAL
    Filing           Monday, March 09th, 2020
    Date:
    Court:            60 - PULASKI
    Location:         Cl - CIRCUIT
    Type:             OM - CIVIL - OTHER
    Status:           OPEN - CASE OPEN
    Images:




  Case Event Schedule

  No case events were found.

  Case Parties

   Seq       End
       Assoc                         Type                                     ID                  Name
     #       Date
        1                            JUDGE                                     7965384            HON. ALICE S. GRAY -12TH
                                                                                                  DIVISION 6TH CIRCUIT

                                                                            l['A'1iases: II GRAY


        2                            PLAINTIFF                                 1683353~ CARSON, ARTHUR
                                                                                 Aliases: none
                                                                                                                                                   I




            •
                                                                                                                                                   I


       6                             DEFENDANT/RESPONDENT 1007008
                                     ATTORNEY
                                                                             I                IWAKEFIELD, SAMUEL BRENT                             I
                                                                                                                                                   I
                                                                                                                                                __I


                                                                             I   Aliases] WAKEFIELD, SAMUEL BRENT
                                                                                                                                                   I
                                                                                                                                                   I
                                                                                                                                                   I
                                                                                                                                                   I

       4                             DEFENDANT                                 16833539 SIEBENMORGEN, VICKIE

                                 I
                                                                                 Aliases: none                                            _J
                                                                                                                                                   !
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                                                                                                                     EXHIBIT "B"
3/25/2020              Case 4:20-cv-00343-DPM Document     1 Filed
                                                  - Not an Official     03/27/20 Page 8 of 87
                                                                    Document




                                  DEFENDANT                                   16833540 BOILING, JAMES
                                                                                   Aliases: none


       3                          DEFENDANT




  Violations




  Sentence

  No Sentence Info Found.




  Milestone Tracks

  No Milestone Tracks found.

  Docket Entries

   Filing Date Description                                                         Name                                          Monetary
   03/09/2020 AOC COVERSHEET CIVIL
   09:48AM
   Entry:             none.
   Images           INo Images                                                 I


   03/09/2020 IFP EXHIBIT NO FILE MARK
   09:48AM

   _:ntry:            none.
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   03/09/2020 PET PROCEED IN FORMA PAUPER
   09:48AM

https:1/caseinfo.arcourts.gov/ccon nect/PROD/public/ck_public_qry_ doct.cp_dktrpt_frames?backto=P&case_id=60CV-20-1941 &begin_date=&end_date=   2/4
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                       Case 4:20-cv-00343-DPM Document     1 Filed Document
                                                                        03/27/20 Page 9 of 87
  I Entry:          I none.                                                                                                                    I
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       09:48 AM
       Entry:           none.
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  II
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       03/10/2020 ORDER OTHER
       10:30 AM
       Entry:           ORDER GRANTING LEAVE TO PROCEED IN FORMA PAUPERIS
              -         WEB



       03/10/2020 COMPLAINT/PETITION POST IFP
       10:31 AM
       Entry:           none.
       Images           WEB



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       10:31 AM
       Entry:           none.
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       03/16/2020 SUMMONS ISSUED
       08:25AM
       Entry:           none.
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       Entry:           none.
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                       Case 4:20-cv-00343-DPM Document     Official Document
                                                                Filed   03/27/20 Page 10 of 87
      08:25AM                                                                  II                                             II               I
      Entry:         none.
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      03/24/2020 ANSWER FILED                                                       WAKEFIELD, SAMUEL BRENT
      02:44 PM
      Entry:         none.
      Images         WEB



      03/24/2020 EFILING NOTICE OF APPEARANCE                                       WAKEFIELD, SAMUEL BRENT
      02:44 PM
      Entry:           -   ,   -
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      Images          No Images


      03/24/2020 NOTICE REMOVED FEDERAL COURT
      04:03 PM
      Entry:          none.
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  II Entry:           03.20.2020 - SIEBENMORGEN
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      Entry:          03.20.2020 - WOLFE STREET FOUNDATION
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                ..    03.20.2020 - JAMES BOILING
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3/25/2020               Case 4:20-cv-00343-DPM Document
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                                                            Official     03/27/20 Page 11 of 87
                                                                     Document




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     Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 12 of 87



               IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                                            DIVISION




ARTHUR CARSON, PLAINTIFF.,

V.

WOLFE STREET FOUNDATION, DEFENDANT.,
VICKIE SIEBENMORGEN, DEFENDANT,
JAMES BOILING, DEFENDANT.,




                             COMPLAINT WITH JURY DEMAND



TO THE HONORABLE JUDGE OF SAID COURT:

 Comes Now the Plaintiff, Arthur carson, and would Like to Show the following:



                                         I.   PARTIES:



       1). PLAINTIFF, ARTHUR CARSON, 10434 W. 36th Street, Little Rock, AR 72204;

      2). WOLFE STREET FOUNDATION, (Registered Agent, Joy Reynolds, 1015 S.

       Louisiana Street, Littte Rock, AR 72202;



                                                  (1)
Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 13 of 87



3). Vickie Siebenmorgen,Executive Director-1015 S. Louisiana Street, Little Rock, AR
72202;

4). James Boiling, (Acting Manager}, 1015 S. Louisiana Street, little Rock, AR 72202.




                                II.   JURISDICTION:

This Court has Jurisdiction, pursuant to; AC.A. Sec. 11-8-103, "Corporate liability",

A. C .A. Sec.11-64-122, •Negligence•, Sec. 11-5-115, "Workplace Prevention ", Arkansas-

Civil Rights Statue,"; Sec. 16-123-107, Plaintiff Invoke the General Jurisdiction of This

 Court, 42 USC 1983, 29 USC 654 "Legal Obligation to Maintain a Safe Work

 Environmenr, 29 USC 203, "Fair Labor Standard Act".




                            Ill. STATEMENT OF THE CLAIMS:



(A). The Defendant's, Wolfe Street Foundation, and Executive Director, Vickie-

Siebenmorgen, Have Carelessly, and Negligently failed to Ban Violent and disruptive

Attendees of Wolf Street Permanently;

(8). Oiscriminatorily Dispensing Health and life Insurance, while Highly Compensated

Staff receive Full Benefits, including 401 k;

( C ). The Defendants failed to Prosecute Attendees who Violate The Law;

(D). The Defendants have Fostered a Violent Workplace Atmosphere;

(E). The Defendant's failure to Act On Workplace Threats of Violence, Harassment,

Or intimidation, are the proximate cause of Carson's injuries.

                                                (2)
Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 14 of 87




(F). The Defendants failed to have Visitors to Wolf Street Register prior to entering

The Building or Establishing a method to determine who is in the Building;

(G). The Defendant's failed to Require all meeting Chairperson and Sponsor

Expel its trouble-makers;

(H). The Defendants concealed the Active Shooter Manual from Carson, and

Failed to provide any Training in the area.




                                IV. STATEMENT OF FACTS:

1). Plaintiff, " CarsonD was An Employee of Wolfe Street Foundation, "WSF".

On 2/19/2020, While Working as the Building Monitor, which duties included being

On the front line, to ensure Safety in the Building. Carson would infonn His Superiors,

James Boiling, and Vickie Siebenmorgen of any perceived problems or potential

Attendees from Loiters.

 The Defendants at all times failed to take reasonable steps to prevent Workplace

Violence, even when warned by Carson, specifically that of February 18, 2020.

Carson, gave Vickie Siebenmorgen, James Boiling, a Memo that warned of

Dominique Sinclair's attempt to hide inside the Building while Carson were

Locking for the Night. No action were taken, even thought this individual had

A history of illegally entering the Building for housing.

2). On February 19, 2020,@ 7:45 P.M., while viewing the Security Monitor,

Carson noticed an individual run inside the Building, upstairs. Carson went to observe,
                                        (3)
      Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 15 of 87




And informed Him that if He pulled another stunt like attempting to hide in the Building,

Dominique became angry and mumble something, ran outside, where Carson went back

Inside to watch His activities through the Security Monitor. He was observed getting an

Object from the mailbox, and rushed to the Bookstore, and caused the doubled glass

Doors nearly to break,    Garson unlocked the door, where Dominique rushed inside,

Causing the door to strike Carson and snapped His Head Back, causing His Neck and

Spinal issues. Carson swung back at Dominique in a defensive manner, before being

Grabbed by two guys and a lady, where during their attempts to subdue Him, Dominique

Kicked one of the guys in the head,(Luke), and tried to Kick the lady, in which Carson

Was on the Phone with the 911 operator. Dominique subsequently left the scene before

Police arrive, where a Warrant for His Arrest was issued.

3). The Assailant, Dominique Sinclair had a long history with WSF prior to His Assault

On Carson, yet no action was taken to ban His coming to the WSF.

The Night of Carson's altercation with Dominique, Carson called James Boiling Phone

Twice to inform Him what had occured, He refused to answer His phone. Even the Morning

After, - calls went to His Voicemail. Carson text James Boiling to ask about His Medical

Expenses He would incur, where James Boiling and Vickie Siebenmorgen has refused to

Respond to anything relating to Insurance or payment for Carson's injuries.

                                                (4)
      Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 16 of 87




All White Staff Members of WSF are given lnsurance benefits, yet Carson, the lone African-

American Staff Members were Discriminatorily deprived by Defendants.

4). The Defendant's abdicated its (1) duty of care to Carson, (2) Defendant Breached their

Duty, (3) there exist an actual causal connection between the Defendant's conduct and

Resulting harm to Carson, (4) Defendant's inactions are the proximate cause of Carson

Injury, which were foreseeable, and (5) damages resulting from Defendant's indifference to

His safety, where" On February 10, 2020, "Cassie•, A meeting attendee of NIA

Meetings were into an Argument with another attendee, however, Cassie hide a six inch

Knife in the Women's Restroom, where it was axiomatic Her intent, She was allowed to

Attend the evening meeting of M.

5). On February 14, 2020, Carson was approached by "Micheal Dennis", a Chairperson

For the AA Meetings, where He and five other AA Members approached Carson to taunt,

Where Michael Dennis told the other lets get Him and Take into the kitchen area ( sic].

This was done so because they could not get into their meeting room early. When Carson

Informed His Supervisor, James Boling, He said "Well I know Michael Dennis", just over-

Look1at the harassment.

 The Defendant's "Open Violence Workplace Position", while refusing to take any action to

Circumvent threats, harassment, or taunting affirmed the Violent atmosphere, and fostered

WSF Violent Workplace environment, resulting in Carson suffering a neck and spinal injury.

                                               (5)
       Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 17 of 87




                                           PRAYER:




WHEREFORE, PREMISES CONSIDERED, PLAINTIFF PRAY THAT, Declaratory And

Injunctive Action are taken to Implement a Workplace Violence Policy; Compensatory,

Punitive, Damages, Trial By Jury; All other equitable relief This Court deem Equitable.


~CT~UBMITTED:

Arthur Carson
10434 W. 36th Street #10-B
Little Rock, AR 72204
(artcarson67@gmail.Com)

 I, Arthur Carson.states the foregoing claims are true and correct to the best of My knowledge,

Pursuant to the Penalties of perjury, 28 USC 1746.


  I swear thJ-foregoing statements are true and correct.
OJtl.....  ~      ,           .Dated this 4th day of March, 2020.
Arthur Carson
In Propria Persona



                                               (6)
       Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 18 of 87




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Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 19 of 87
Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 20 of 87
                       Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 21 of 87
                            LITTLE ROCK POLICE DEPARTMENT INCIDENT REPORT
  •   JUVENILE INFORMATION              I                                       INCIDENT                                            Report generated: 2/20/2020 4:45 AM

 INCIDENT NUMBER                                               UNIT ASSIGNED             CALL DATE                    CALL TIME                        TYPEOFCALL
                2020-019834                                             2X40                02/19/2020                    20:05:00                             ASLTJO
 INCIDENT DATE                                                                LOCATION OF INCIDENT (ADDRESS I BUSINESS NAME)                                           DISTRICT
                                                                                                     1015 S LOUISIANA ST
             2/19/2020 7:50:00 PM                                                                                                                                                  40


                                                                                     OFFENSE
 INCIDENT OFFENSE TYPE                                                                                                                                 OFFENSE STATUS

 I. BATTERY 3RD DEGREE
 2. ASSAULT 3RD DEGREE
 l
                                                                       . S.
                                                                        6.
                                                                                                                                           Attempted
                                                                                                                                           Complelad          38 48
                                                                                                                                                          I~ 2~



                                                                                                                                                          sB 8 8 ·8
                                                                         7.
 4.                                                                      I.                                                                                        6           1


 SUSPECTS USED:                                               TYPE OF CRIMINAL ACTIVITY:                                                                   GANG RELATED INFO:
 ltJ(A) Alcohol             0<D)Drugs                         0(B) Buying/ Receiving                0(C) Cultivate/ Manufacture/ Publish                  D (J) Juvenile Gang
 0CC> Computer Equip        •     (N) Not Applicable/         D(E) Exploiting Children          0(0) Operating/ Promoting/ Assisting                      0CG) Other Gang
                                  Unknown
                                                              D(T) Transport/ Transmit / Import 0(U) Using/ Consuming                                     ltJ(N) None/ Unknown
                                                              0 (D) Distributing/ Selling           0 (P) Possessing / Concealing
 LOCATION CODE:                                 0(16) Lake/Waterway                         0(44) Daycare Facility                         0(51) Rest Area
 0(01) Air/ Bus /Train Terminal                 0(17) Liquor Store                          0(45) Dock/ Wharf/ Freight Terminal            0(52) School - College/ University
 0(02) Bank/ Savings & Loan                     0 (18) Parking Lot/ Garage                  0(46) Farm Facility                            0(53) School - Elementary/ Secondary
 0(03) Bar /Night Club                          0(19) Rental/ Storage Facility              0(47) Gambling/ Casino/ Racetrack              @(54) Shelter- Mission/ Homeless
 0(04) Church/ Synagogue/ Temple                D (20) Residence / House                    0 (48) Industrial Site                         Dess) Shopping Mall .
 0 (OS) Commercial / Office Building            0(21) Restaurant                            0(49) Military Installation                   0(56) Tribal Lands
 0(06) Construction Site                        0 (22) School / College                     0 (SO) Park/ Playground                       0(57) Community Center
 0 (07) Convenience Store                       0(23) Service/ Gas Station
 0 (08) Department / Discount Store             0(24) Specialty Store (TV, Fur, Etc)
 0 (09) Drug Store / DR Office / Hospital       0 (25) Other/ Unknown                            WEAPON FORCE:        (on 11-15, an "A• deuotea Automatic or Semi-A•tomalic)

 0(10) Field/Woods                              0 (37) Abandoned/Condemned Structure         _     0(1l)Firearm(Unknown)                           Ocso)Poison
 0 ( 11) Government / Public Building           0(38) Amusement Park                         _     0(12)Handgun                                    0(60)Explosives
 002) Grocery/ Supennarlcet                     0(39) Arena/ Stadium/ Fairgrounds            _ D (13) Rifle                                        0(6S) Fire/ Incendiary Device
 0 ( 13) Highway /Road/ Alley                   0(40) ATM Separate from Bank                 _     004) Shotgun                                    D (70) Narcotics I Drugs/
 0(14) Hotel/ Motel/ Etc                        0(41) Auto Dealership New/ Used                    0 (15) Other Firearm                                 Sleeping Pills

 0(15) Jail/ Penitentiary                       0(42) Camp/ Campground                       0(20) Knife/ Cutting Instr (Axe, etc)                 0(85) Asphyxiation
1-----------------+----------1 0(30) Blunt Object (Club, etc)                                                                                      0(90)0ther
 (FOR BURGLARY ONLY)                                METHOD OF ENTRY:                         0(35) Motor Vehicle (as weapon)                       D (95) Unknown          ·

 NUMBER OF PREMISES ENTERED                        •    CF) Forcible     0CNJ No Force
                                                                                             ltJ(40) Personal Weapons (bands, etc)                 0(99)None


 NARCAN USED:       0Yes           lt)No    •   Other




                            ·-·

 ENTRY DATE                          REPORTING OFFICER                                           ORIGlNAL APPROVlNG SUPERVISOR
                                                                                                                                                                  0MVRin use
  02/20/2020       02:02:50          AGHOGHO ONIOVOS - 34305                                     DERRICK THREADGILL - 27113

                                                                                            LRPD Form 5501-01 Rev. RMS-2019-01-23                                                  Page I of7

                                                                                                                                                                                        -~lf
                        Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 22 of 87
 fNCIDENT NiJMBER          2020-019834                                  0 JUVENILE INFORMATION                                    Report generated: 2/20/2020 4:45 AM



                                                                                 VICTIM
        VICTIM#           NAME (Last, First, Middle) or BUSINESS

            1                                                                 CARSON,ARTHUR
 ADDRESS:

                                                     1015 S LOUISIANA ST LITTLE ROCK AR 72202
 HOME PHONE:                                    WORK PHONE:                                 MOBILE PHONE:                                 OTHER PHONE:
                                                5015081090
SEX:      [Z](M)Male                 ETHNICITY:      0 (H)Hispanic             RACE:   Q(W)White       0(B) Black     Om American Indian           DATE OF BIRTH
0(F)Female         Q(U) Unk.        [Z](N) Non-Hispanic Q(U) Unk.                      0(Al Asian/ Pacific Islander   0<Ul Unknown                        04/04/1954
RES. STATUS:           0 (R) Resident          MENTALLY AFFLICTED?                        OCCUPATION I EMPLOYER:
0 (N) Nonresident      0<Ul Unknown           Q(Y)Yes        IZJ (N) No 0 (U) Unk.
AGE:                                                                  NIC:                                    RELATIONSHIP OF THIS VICTIM TO SUSPECTS
Exact Age:          65                                                                                        SUSPECT(S) VICTIM WAS:                      (by Suspect Number)
Ranl(e:
          ------                  Q(BB) 7-364 Days Old                                                                    (SE) Spouse              1       (AQ) Acquaintance
Q(NN) Under 24 Hrs. Old                                               D.L. / ID No. /STATE)                               (CS) Commoo-Law
                                  0 (99) Over 98 Years Old                                                                Spouse                           (FR) Friend
Q(NB) 1-6 Days Old                0(00) Unknown                                                                           (PA) Parent                      (NE) Neighbor
                                                                                                                          (SB) Sibling                     (BE) Babysitter (baby)
THIS VICTIM RELATED TO WHICH OFFENSES?                                                                                    (CH)Child                        (BG) Boy/Girl Friend
IZI l     [ZJ2   03       04       Os      06      07        Os                                                           (GP) Grandparents                (CF) Child ofBF / OF

VICTIM TYPE:        IZJ (I) Individual     0(B) Business        0(F) Financial Inst.     0 (U) Unknown
                                                                                                                          (GC) Grandchild                  (HR) Homosexual Rel.
                                                                                                                          (IL) lnlaw                       (XS) Ex-Spouse
                    0(G) Government 0 (R) Religious             0 (S) Society / Public 0(0)0ther
                                                                                                                          (SP) Stepparent                  (EE} Employee
VICTIM INJURY:                                                                                                            (SC) Stepchild                   (ER) Employer
[Zl(N)None                           0   (M) Apparent Minor In_iury          D (B) Apparent Broken Bones                  (SS) Stcpsibling                 (OK) Otherwi,e Known
0 (I) Possible Internal In_jury      0   (T) Loss of Teeth                   Q(L) Severe Laceration
                                                                                                                          (OF) Other Family                (RU) Relatiooahip Unknown
0 (0) Other Major Injury             0(U) Unconsciousness                                                                 (ST) Stranger                   (VO) Victim Wu Suspect


AGGRAVATED ASSAULT I HOMICIDE: 0(01) Argument                                           0   (02) Assault on Law Enf Officer       0 (03) Drug Deal
0(04) Gangland                                 0(05) Juvenile Gang                      0(06) Lover's Quarrel                     0 (07) Mercy Killings
0(08) Other Felony Involved                    0 (09) Other Circumstances               0   (I 0) Unknown Circumstances           0 (20) Criminal Killed by Private Citizen
0 (21) Criminal Killed by Police Officer       0(30) Child Playing w/ Weapon            0 (31) Gun-Cleaning Accident             0(32) Hunting Accident
0 (33) Other Negligent Weapon Handling         0(34) Other Negligent Killings

CLOTHING DESCRIPTION

HAT                                                            SHIRT                                                      SHOES
COAT                                                           PANTS/DRESS




                                                                                                                                                                      Page 2 of7
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 INCIDENT NUMBER          2020-019834                                •    JUVENILE INFORMATION                                 Report generated: 2/20/2020 4:45 AM



                                                                             VICTIM
       VICTIM#            NAME (Last, First, Middle) or BUSINESS
           2                                                               MAHOSKY,LUKE
 ADDRESS:
                                                  1015 S LOUISIANA ST LITTLE ROCK AR 72202
 HOME PHONE:                                  WORK PHONE:                                 MOBILE PHONE:                               OTHER PHONE:
5016976111
SEX:     (2JCM)Male                E111NICITY:    0 (H)Hispanic            RACE: @(W)White 0 (B) Black O (0 American Indian                     DATE OF BIRTH
0(F)Female        0CU) Unk.        l2J (N) Non-Hispanic O (U) Unk.                    0(A) Asian/ Pacific Islander   OM Unknown                       12/19/1982
RES. STATUS:          l2J (R) Resident      MENTALLY AFFLICTED?                         OCCUPATION I EMPLOYER:
0<N) Nonresident      O<U) Unknown         0(Y)Yes         (21 (N) No O   (U) Unk.

AGE:                                                              NIC:                                     RELATIONSHIP OF THIS VICTIM TO SUSPECTS
Exact Age:          37                                                                                     SUSPECTfS) VICTIM WAS:         (by Suspect Number)
Ranile: _ _ _ • _ _ _
                                 0(BB) 7-364 Days Old                                                              (SE) Spouse                         (AQ) Acquaintance
0 (NN) Under 24 Hrs. Old         0(99) Over 98 Years Old          D.L. / ID No. lSTATEl                               (CS) Common-Law
                                                                                                                                                       (FR) Friend
                                                                                                                      Spouso
0<NB) 1-6 Days Old               0 (00) Unknown                                                                       (PA)Parent                       (NE) Neighbor

                                                                                                                      (SB)Sibling                      (BE) Babysittcr (baby)
THIS VICTIM RELATED TO WHICH OFFENSES?                                                                                (CH)Child                        (BG) Boy/Girl   Friend
@I      02      03       04       Os     06       07     Os                                                           (GP) GrandpaRDts                 (CF) Child of BF/ GF

                                                                                                                      (GC) Grandchild                         Homosexual Rel.
VICTIM TYPE:       [21(1) Individual     D (B) Business       0 (F) Financial Inst.     O(U)Unknown
                                                                                                                                                       (HR)

                                                                                                                      (IL) lnlaw
                   Q(G) Government       D (R) Religious      O<S) Society/ Public 0(0)0ther
                                                                                                                                                       (XS) Ex-Spouse
                                                                                                                      (SP) Stepparent                  (EE) Employee
VICTIM INJURY:                                                                                                        (SC) Stepchild                   (ER) Employer
O(N)None                           D (M) Apparent Minor Injury           D (B) Apparent Broken Bones                  (SS) Stepsibling                 (OK) Otherwise Known
D (I) Possible Internal Injury     0 (T) Loss of Teeth                   0(L) Severe Laceration                       (OF) Other Family                (RU) Relationship Unknown
D (0) Other Major Injury           0 (U) Unconsciousness                                                              (ST) Stranger                   (VO) Victim W11 Smpocl


AGGRAVATED ASSAULT I HOMICIDE: 0(01) Argument                                         0(02) Assault on Law EnfOfficer          0{03) Drug Deal
0{04) Gangland                 0 (OS) Juvenile Gang                                   0 (06) Lover's Quarrel                   0(07) Mercy Killings
0(08) Other Felony Involved                 0 (09) Other Circumstances                0 {I 0) Unknown Circumstances            0 (20) Criminal Killed by Private Citizen
D {21) Criminal Killed by Police Officer    0{30) Child Playing w/ Weapon             0 (31) Gun-Cleaning Accident             0 (32) Hunting Accident
D (33) Other Negligent Weapon Handling      0(34) Other Negligent Killings

CLOTHING DESCRIPTION
HAT                                                          SHIRT                                                    SHOES
COAT                                                         PANTS/DRESS




                                                                                                                                                                  Page 3 of7
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INCIDENT NUMBER          2020-019834                               •    JUVENILE INFORMATION                               Report generated: 2/20/2020 4:45 AM



                                                                        SUSPECT#l
     SUSPECT#            NAME (Last, First, Middle}                                                               AKA:
          1                                                         SINCLAIR,DOMINIQUE
   ARRESTEE#             ADDRESS:
                                                        3919 W 13TH ST LITTLE ROCK AR 72204
HOME PHONE:                                 WORK PHONE:                                MOBILE PHONE:                              OTHER PHONE:



SEX:   0(M}Male                  ETHNICITY:      0 (H}Hispanic           RACE:    0(W) White       0CB> Black O(I} American Indian          DATE OF BIRTH
0(F)Fcmale      D<U) Unk.        0CN) Non-Hispanic 0CU} Unk.                      0 (A) Asian/ Pacific Islander O (U) Unknown                     02/09/1986
RES. STATUS:        0 (R) Resident         MENTALLY AFFLICTED?                      OCCUPATION I EMPLOYER:
0 (N) Nonresident   0CU) Unknown          Dev> Yes      0<N> No O<U} Unk.

AGE:                           SUSPECTS ACTIONS RELATED TO:               NIC:                              HEIGHT:            WEAPONS AT ARREST:
Exact Age:        34
Ran,ie: _ _ _ • _ _ _
                               ~VI
                                  vs     BV2
                                           V6
                                                      8V3
                                                        V7
                                                             8V4
                                                                   vs
                                                                                                            Ft
                                                                                                            In
                                                                                                                                    0(01) Unarmed               --> I
                                                                                                                                                                    I
                                                                                                                                    0 (l I) Firearm (Unk)
                                                                                                                              -                                     §
0(99) Over 98 Years Old
0(00) Unknown                 8DISPOSITION OF JUVENILE:
                                 (H) Handled within Department
                                 (R) Referred outside Department
                                                                          D.L. / ID No. (STA TE)            WEIGHT:
                                                                                                            Lbs               -     0(12) Handgun
                                                                                                                                    0(13)Rifle                      !.
                                                                                                                              -     0(14) Shotgun
                                                                                                                                                                ._,
                                                                                                                                                                 n
THIS SUSPECT RELATES TO WHICH OFFENSES?                        ARREST TYPE:                  0(0} On View Arrest              -     0(1S) Other Firearm
01     @2      03      04       Os     06       07      Os    0 (S} Summons / Cited          0     (n Taken Into Custody      -
                                                                                                                               0 ( 16) Illegal Cutting Instrument
ARREST LOCATION:                                                                              ARREST DATE:
                                                                                                                              0 (17) Club/Blackjack/Brasa


CHARGE:       5-13-203            5-13-207

ARRESTING OFFICERS
OFFICER I:                                                   0MVR          OFFICERS:                                                   0MVR
 OFFICER 2:                                                  0MVR          OFFICER 6:                                                  0MVR
 OFFICER 3:                                                  0MVR          OFFICER 7:                                                  0MVR
 OFFICER 4:                                                  0MVR          OFFICERS:                                                   0MVR


                                                                                                                   Suspect information continued on next page.




                                                                                                                                                             Page 4 of7
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INCIDENT NUMBER    2020-019834                            •   JUVENILE INFORMATION                              Report generated: 2/20/2020 4:45 AM



                                                              SUSPECT #1
     SUSPECT#       NAME (Last, First, Middle)                                                           AKA:
          1                                                   SINCLAIR,DOMINIQUE

COMPLEXION:       HAIR STYLE:           HAIR COLOR:       FACIAL HAIR:            DEMEANOR:                 SCAR/MARK:               TATTOO:
•  (l)Light
0(2)Medium
                 0(01) Afro
                 0(02) Wavy
                                        •   (!)Black
                                        Q(2)Blonde
                                                          0(01) Clean Shaven
                                                          0 (02) Unshaven
                                                                                  0(0l)Angry
                                                                                  0(02) Apologetic
                                                                                                            0(01) Head
                                                                                                            Q(02)Ncck
                                                                                                                                     0(l)Designs
                                                                                                                                     0 (2) Initials
Omoark           0 (03) Straight        Q(3)Brown         0(03) Full Beard        0(03) Calm                Q(03) Hand (rt)          0(3)Names
0(4) Acne        0(04) Curly            0(4) Grey         0(04) Must. (hvy)       0(04) Irrational          0 (04) Hand (]ft)        0(4) Pictures
8(5) Freckled    0(05) Braided          0(5) Red          0(05) Must. (thin)      0(05) Nervous             0(05) Arm (rt)           Des)  Words
   (6) Ruddy     0 (06) Ponytail        0(6) Sandy        0 (06) Brows (hvy)      0 (06) Polite             0(06) Arm (1ft)          0 (6) Numbers
0(7) Other       8(07) Military         0(7)0ther         §(07} Brows (thin)      0(07) Professional        0(07) Body               0 (7) Insignia
0  (8) Unknown      (08) Processed      [Z] (8) Unknown      (08) Side Burns      0(08) Stupor              0(08) Leg (rt)           0(8)None
                 0(09) Wigrfoupee                            (09) Goatee          0(09) Violent             0 (09) Leg (1ft)         @(9) Unknown
HAIR LENGTH:                            EYE COLOR:                                0 ( I0) Drunk / High
                 Ooo)Other                                000) Other                                        000) Other
0O)Long
0(2)Medium
                 [Zj(l I) Unknown       8(1)   Blue
                                           (2) Brown
                                                          [Z](I I) Unknown        Ooo Other
                                                                                  [Z](l2) Unknown
                                                                                                            Do   I) None
                                                                                                            [Z)(12) Unknown
                                                                                                                                     TATTOOLOC:
                                                                                                                                     0(01) Arm (1ft)
                 BUILD:
0(3)Short
0(4) Bald(ing)
Q(S)Other
                 0(1) Light
                 Q(2)Medium
                                        0(3)Grey
                                        0(4) Green
                                        0<5) Hazel
                                                          CLOTHING DESCRIPTION:                                                      B
                                                                                                                                     0 (02) Arm (rt)
                                                                                                                                        (03) Leg (1ft)
                                                                                                                                        (04) Leg (rt)
                                                          HAT                                                                        0(05) Hand (1ft)
IZ](6) Unknown   Q(3)Heavy              0(6) Other
                 ~(4) Muscular          @ (7) Unknown     COAT                                                                       0 (06) Hand (rt)
                   (5) Unknown                            SHIRT                                                                      8(07)Face
                                                          PANTS/DRESS                                                                   (08) Neck
                                                          SHOES                                                                      0(09) Finger(s)
                                                                                                                                     0(J0)Chest
                                                                                                                                     O(ll)Back

ADDED DESCRIPTION:
    n/a




                                                                                                                                               Page 5 of7
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                                         NARRATIVE
 CONTACT WAS MADE WITH MR. CARSON, WHO WORKS AT THE LOCATION. MR. CARSON ADVISED MR. SINCLAIR
CAME BACK INTO THE BUSINESS AFTER BEING TOLD NOT TO RETURN. MR. CARSON STATED MR. SINCLAIR PUSH
THE DOOR INSIDE THE BUSINESS, WHICH RESULTED IN MR. CARSON GETTING STRUCK IN THE FACE WITH THE
DOOR. MR. MAHOSKY ADVISED HE GRABBED MR. SINCLAIR IN AN ATTEMPT TO RESTRAIN HIM. MR. MAHOSKY
ADVISED HE TOOK MR. SINCLAIR TO THE GROUND. MR. MAHOSKY ADVISED HE LET MR. SINCLAIR GO. MR.
MAHOSKY STATED MR. SINCLAIR KICKED HIM IN THE HEAD. I OBSERVED A HEMATOMA ON THE RIGHT SIDE OF MR.
MAHOSKY'S FOREHEAD. MR. MAHOSKY ADVISED HE DID NOT NEED AN AMBULANCE AND DID NOT WANT TO
PRESS CHARGES ON MR. SINCLAIR. I DID NOT OBSERVE ANY INJURES ON MR. CARSON'S FACE. MR. CARSON
WAS GIVEN THE INCIDENT NUMBER TO THIS REPORT AND ADVISED SEEK WARRANTS. OFFICERS CIRCULATED
THE AREA FOR MR. SINCLAIR WITH NEGATIVE RESULTS. MVR IN USE.




                                                                                                      Page 6 of7
  ,   I
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INCIDENT ~UMBER          2020-019834                                  •     JUVENILE INFORMATION                              Report generated: 2/20/2020 4:45 AM



ADDITIONAL HOMICIDE CIRCUMSTANCES                                              0(C) Criminal attacked a civilian                     O(F) Criminal resisted arrest
0(A) Criminal attacked police officer, that officer killed criminal
0 (B) Criminal attacked police officer, criminal killed by other officer
                                                                               0(D) Criminal attempted flight from a crime
                                                                               0(E) Criminal killed in commission ofa crime
                                                                                                                                     •   (G) Unable to detennine /
                                                                                                                                             not enough infonnation

RELATED CASE NUMBER(S)

CAR JACKING?       0   YES [ZjNO                                           DRIVE-BY?   •   YES [ZjNO                            GANG RELATED?         •   YES [ZjNO

                                             HATE/BIAS RELATIONSHIP:                        0(88) None         • YES, SEE BELOW
RACIAL (Anti-)                            RELIGIOUS (Anti-)                     ETHNICITY/ NATIONAL ORIGIN (Anti-)               SEXUAL (Anti-)
Dnl)White                                 0(21)Jewish                           0 (32) Hispanic                                  0(41) Male Homosexual (Gay)
On21 Black                                0(22) Catholic                        0(33) Other Ethnicity                            0 (42) Female Homosexual (Lesbian)
0 ( 13) American Indian /                 0(23) Protestant                                                                       0 (43) Homosexual (Gay and Lesbian)
                                                                                DISABILITY (Anti-)
  Alaskan Native                          0(24) Islamic (Muslim)                                                                 0(44) Heterosexual
0(14) Asian/ Pacific Islander             0 (25) Other ReliJiion                0 (5 I) Physical Disability                      0<45) Bisexual
Dosi Multi-Racial Group                   0(26) Multi-Reli~ious Group           0<52) Mental Disability
                                          D (27) Atheist/Agnostic




                                                                                                                                                               Page7of7
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                                                                                           ELECTRONICALLY FILED
                                                                                                 Pulaski County Circuit Court
                                                                                           Terri Hollingsworth, Circuit/County Clerk
                                                                                              2020-Mar-09 09:48:00
                                                                                                 60CV-20-1941
                                                                                                C06D12: 2 Pages

               IN THE   C}/lCv:1     COURT OF      ru/1tr1<.j   COUNTY, ARKANSAS

IN RE PETITION OF       /fr-/hw
                      ufll.ftv'-
TO PROCEED IN FORMA PAUPERIS
                                                                    CASE NO. - - - - -



               PETITION FOR LEAVE TO PROCEED IN FORMA PAUPERJS

       COMES NOW the Plaintiff,       /tft.fhvr Ct+M"IJ...         ,pro se, who hereby petitions the
court for Leave to Proceed In Forma Pauperis and does allege and state as follows:

        l. That Plaintiff, a resident of the State of Arkansas, has prepared and desires to file with

this Court a   CotA(>(lf{!JT W)Jtl ::r""'Y) [)<l'-Wt,IJJ

       2. That Plaintiff has completed an Affidavit in Support of Request to Proceed In Forma

Pauperis setting out his/her income and assets. Plaintiffs Affidavit accompanies this petition.

       3. That Plaintiffs income barely suffices to meet the costs of life's daily essentials and

includes no allotment that could be budgeted to pay for court fees and costs incident to this

proceeding.

       4. That Plaintiff has no other income in addition to that described in his/her Affidavit and

no means of paying such costs without being reduced to total impoverishment.

       6. That Plaintiff believes that he/she is entitled to the relief requested in the

accompanying      Co(',t Ptl{,',v1           and that such action is not brought for a frivolous or

malicious purpose.
      Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 29 of 87




       WHEREFORE, Plaintiff prays that the court enter an order allowing the Plaintiff to

prosecute this action In Forma Pauperis and that the Plaintiff may have the necessary writs and

processes without payment of fees or costs for the same.

                                     Respectfully submitted,

                                     SIGNATURE:      ~ ~
                                     ADDRESS:        lO1(,Y iJ. 'Jl,-t'I,.. .Sf-, ,ffe li>-b
                                                      li e, l{oct<, 11/-. 7)'1'l'-I
                                     PHONE:           fiO(- :)4() .:3'(Yl
       Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 30 of 87
                                                              ELECTRONICALLY FILED
                                                                                        Pulaski County Circuit Court
                                                                                  Terri Hollingsworth, CircuiUCounty Clerk
                                                                                     2020-Mar-09 09:48:00
                                                                                        60CV-20-1941
                                                                                       C06012: 4 Pages




          IN THE   Cr•rtCv t1•             COURT   PvlJtst<;"   COUNTY, ARKANSAS


                      IN RE PETITION OF /t(~vf ut/l.foYt
                          TO PROCEED IN FORMA PAUPERIS


                                              NO.

                          AFFIDAVIT IN SUPPORT OF
                    REQUEST TO PROCEED IN FORMA PAUPERIS

         /t/Hhur
        I,           {!jVlSlm. , being first duly sworn, depose and say that I am the petitioner
in the above entitled case; that in support of my motion to proceed without being required
to prepay fees, costs or give security therefor, I state that because of my poverty I am
unable to pay the costs of said proceeding or to give security therefor; that I believe I am
entitled to redress.

      I further swear that the responses which I have made to questions and instructions
below are true.

1. Are you presently employed? Yes_ No/

(a) If the answer is yes, state the amount of your salary or wages per month, and give the
name and address of your employer.



(b) If the answer is no, state the date of last employment and the amount of the salary and
wages per month which you received.
  ')-/ 14 (;}-ow   Jt &() o /vlo..,,,-fh

2. Have you received within the past twelve months any money from any of the following
sources?

(a) Business, profession or any form of self-employment?

Yes      Noj
         Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 31 of 87




(b) Rent payments, interest or dividends?

Yes      No/

(c) Pensions, annuities or life insurance payments?

Yes      No/

(d) Gifts or inheritances?

Yes      No/

(e) Any other sources?

Yes      No   I
If the answer to any of the above is yes, describe each source of money and state the
amount received from each during the past twelve months.



3. Do you own any cash, or do you have money in a checking or savings account?

Yes ✓    No

If the answer is yes, state the total amount in each account.
   P(g3.• 0

4. Do you own any real estate, stocks, bonds, notes, automobiles or other valuable
property (excluding ordinary household furnishings and clothing)?

Yes      No·/

If the answer is yes, describe the property and state its approximate value.



5. List the persons who are dependent upon you for support, state your relationship to
those persons, and indicate how much you contribute toward their support.
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[6. TO BE COMPLETED ONLY IF PETITIONER IS INCARCERATED IN THE
ARKANSAS DEPARTMENT OF CORRECTION OR ANY OTHER PENAL
INSTITUTION.

Do you have any funds in the inmate welfare funds?

Yes      No

If the answer is yes, state the total amount in such account and have the certificate found
below completed by the authorized officer of the institution.]



       I understand that false statement or answer to any questions in this affidavit will
subject me to penalties for perjury.




                                                              Signature of Petitioner

STATEOF:!l~/.J_,
                ft@4,/t_/
COUNTY OF

       Petitioner, Ifrlllttf'           a~st   duly sworn under oath, presents that
he/she has read and subscribed to the above and states that the information therein is true
and correct.                                      ✓ fJf{___

SUBSCRIBED AND SWORN to before me this                  1/ ~~day of/Ifll1eL ' 2!bf)
                       JANE D VALENZUELA
                         PULASKI COUNTY
                    NOTARY PUBLIC • ARKANSAS              I
                                                              , Yl/lfjf/}l,4,~w~ "\
                                                              J                    ,__.       __ _./


                                                        (J
                My Commlsa,on Expires August 08. 2028
                     Commission No 12706216
                                                                    Notary Public

My commission expires:         1/E!t"...e~
[(To be completed by authorized officer of penal institution)
      Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 33 of 87




                                     CERTIFICATE

        I hereby certify that the petitioner herein, _ _ _ _ _ _~ has the sum of$
- - - on account to his/her credit at the - - - - - - - institution where he/she is
confined.
I further certify that petitioner likewise has the following securities to his/her credit
according to the records of said institution:




                                         Authorized Officer of Institution]
    . .
     \
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                                                                                                                   ELECTRONICALL y FILED
                                                                                                                      . Pulaski County Circi,it Court
j                                                                                                                 Tern Hollingsworth, Circuit/County Clerk
                                                                                                                     2020-Mar-10 10:30:22
                                                                                                                        60CV-20-1941
                                                                                                                       C06D12: 1 Page

                           INTIIB Cif{Cv{, COURTOF R,,/A9c/ COUNTY,ARI<ANSAS

           INRBPBTITIONOF frrtitvr ( ~
           TO PROCEED 1N FORMA PAUPBRIS
                                                                                  CASBNO,     MOJ-20- / 'l'tl

                      .
                          ORDER GMN'JlNQ
                                  )      LEAVE TO PROCEED 1NFQIM4 l4UPEJU8
                                                                  .           .                  '   '




                 On this day comes on to be heard the petition of        A-r-#tvr C/MftA                 that he/she ,

          be permitted to prosecute the above action In Forma Pauperls. The Court being satisfied _of the
                             '                     ..
          truth of the facts alleged and good cause appearing theret.o, IT IS HEREBY ORDERED:

                 1.       · That Plain~ frtflu,f uM,Qlt\ ·               be authorized and permitted to proceed

         in the above-Qlplioned cause, In Forma Paupms.

                2.         That the Clerk of the Court shall receive and file any necessary forms or pleadings

         incident to petitioner's action without requiring the payment of fees or costs.

                3.         That the shetiff's of the counties of the State of Arkansas shall serve writs. or

         pro~es incident to petitioner's action without requiring the payment of fees or costs.
                                                                          i




              · IT IS SO ORDERED.
                                                                          .       : j
                                                                          w          µ,

                                                           Date
     Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 35 of 87
                                                                                 ELECTRONICALLY FILED
                                                                                       Pulaski County Circuit Court
                                                                                 Terri Hollingsworth, Circuit/County Clerk
                                                                                    2020-Mar-10 10:31:59
                                                                                       60CV-20-1941
               IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS                      C06D12: 16 Pages
                                            DIVISION




ARTHUR CARSON, PLAINTIFF.,

V.

WOLFE STREET FOUNDATION, DEFENDANT.,
VICKIE SIEBENMORGEN, DEFENDANT,
JAMES BOILING, DEFENDANT.,




                             COMPLAINT WITH JURY DEMAND


TO THE HONORABLE JUDGE OF SAID COURT:

 Comes Now the Plaintiff, Arthur carson, and would Like to Show the following:



                                         I.   PARTIES:



       1). PLAINTIFF, ARTHUR CARSON, 10434 W. 36th Street, Little Rock, AR 72204;

      2). WOLFE STREET FOUNDATION, (Registered Agent, Joy Reynolds, 1015 S.

       Louisiana Street, Little Rock, AR 72202;



                                                  (1)
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3). Vickie Siebenmorgen,Executive Director-1015 S. Louisiana Street, Little Rock, AR
72202;

4). James Boiling, (Acting Manager), 1015 S. Louisiana Street, Little Rock, AR 72202.




                                II.   JURISDICTION:

This Court has Jurisdiction, pursuant to; A.C.A. Sec. 11-8-103, "Corporate Liability",

A.C.A. Sec.11-64-122, "Negligence·, Sec. 11-5-115, "Workplace Prevention", Arkansas-

Civil Rights Statue,"; Sec. 16-123-107, Plaintiff Invoke the General Jurisdiction of This

 Court, 42 USC 1983, 29 USC 654 "Legal Obligation to Maintain a Safe Work

 Environmenr, 29 USC 203, "Fair Labor Standard Acf'.




                            Ill. STATEMENT OF THE CLAIMS:



(A). The Defendant's, Wolfe Street Foundation, and Executive Director, Vickie-

Siebenmorgen, Have Carelessly, and Negligently failed to Ban Violent and disruptive

Attendees of Wolf Street Permanently;

(B). Discriminatorily Dispensing Health and Life Insurance, while Highly Compensated

Staff receive Full Benefits, including 401 k;

( C ). The Defendants failed to Prosecute Attendees who Violate The Law;

(D). The Defendants have Fostered a Violent Workplace Atmosphere;

(E). The Defendant's failure to Act On Workplace Threats of Violence, Harassment,

Or intimidation, are the proximate cause of Carson's injuries.

                                                (2)
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(F). The Defendants failed to have Visitors to Wolf Street Register prior to entering

The Building or Establishing a method to determine who is in the Building;

(G). The Defendant's failed to Require all meeting Chairperson and Sponsor

Expel its trouble-makers;

(H). The Defendants concealed the Active Shooter Manual from Carson, and

Failed to provide any Training in the area.




                                IV. STATEMENT OF FACTS:

1). Plaintiff, " Carson" was An Employee of Wolfe Street Foundation, "WSF".

On 2/19/2020, V\lhile Working as the Building Monitor, which duties included being

On the front line, to ensure Safety in the Building. Carson would inform His Superiors,

James Boiling, and Vickie Siebenmorgen of any perceived problems or potential

Attendees from Loiters.

 The Defendants at all times failed to take reasonable steps to prevent Workplace

Violence, even when warned by Carson, specifically that of February 18, 2020.

Carson, gave Vickie Siebenmorgen, James Boiling, a Memo that warned of

Dominique Sinclair's attempt to hide inside the Building while Carson were

Locking for the Night. No action were taken, even thought this individual had

A history of illegally entering the Building for housing.

2). On February 19, 2020, @7:45 P.M., while viewing the Security Monitor,

Carson noticed an individual run inside the Building, upstairs. Carson went to observe,
                                        (3)
      Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 38 of 87




And informed Him that if He pulled another stunt like attempting to hide in the Building,

Dominique became angry and mumble something, ran outside, where Carson went back

Inside to watch His activities through the Security Monitor. He was observed getting an

Object from the mailbox, and rushed to the Bookstore, and caused the doubled glass

Doors nearly to break,    carson unlocked the door, where Dominique rushed inside,

Causing the door to strike Carson and snapped His Head Back, causing His Neck and

Spinal issues. Carson swung back at Dominique in a defensive manner, before being

Grabbed by two guys and a lady, where during their attempts to subdue Him, Dominique

Kicked one of the guys in the head,(Luke), and tried to Kick the lady, in which Carson

Was on the Phone with the 911 operator. Dominique subsequently left the scene before

Police arrive, where a Warrant for His Arrest was issued.

3). The Assailant, Dominique Sinclair had a long history with WSF prior to His Assault

On Carson, yet no action was taken to ban His coming to the WSF.

The Night of Carson's altercation with Dominique, Carson called James Boiling Phone

Twice to inform Him what had occured, He refused to answer His phone. Even the Morning

After, - calls went to His Voicemail. Carson text James Boiling to ask about His Medical

Expenses He would incur, where James Boiling and Vickie Siebenmorgen has refused to

Respond to anything relating to Insurance or payment for Carson's injuries.

                                                (4)
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All White Staff Members of WSF are given Insurance benefits, yet carson, the lone African-

American Staff Members were Discriminatorily deprived by Defendants.

4). The Defendant's abdicated its (1) duty of care to Carson, (2) Defendant Breached their

Duty, (3) there exist an actual causal connection between the Defendant's conduct and

Resulting harm to Carson, (4) Defendant's inactions are the proximate cause of Carson

Injury, which were foreseeable, and (5) damages resulting from Defendant's indifference to

His safety, where" On February 10, 2020, "Cassie•, A meeting attendee of NIA

Meetings were into an Argument with another attendee, however, Cassie hide a six inch

Knife in the Women's Restroom, where it was axiomatic Her intent, She was allowed to

Attend the evening meeting of M.

5). On February 14, 2020, Carson was approached by "Micheal Dennis", a Chairperson

For the AA Meetings, where He and five other AA Members approached Carson to taunt,

Where Michael Dennis told the other lets get Him and Take into the kitchen area ( sic).

This was done so because they could not get into their meeting room early. When Carson

Informed His Supervisor, James Boling, He said 'Well I know Michael Dennis", just over-

Look1at the harassment.

 The Defendant's "Open Violence Workplace Position• , while refusing to take any action to

Circumvent threats, harassment, or taunting affirmed the Violent atmosphere, and fostered

WSF Violent Workplace environment, resulting in Carson suffering a neck and spinal injury.

                                               (5)
      Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 40 of 87




                                           PRAYER:




WHEREFORE, PREMISES CONSIDERED, PLAINTIFF PRAY THAT, Declaratory And

Injunctive Action are taken to Implement a Workplace Violence Policy; Compensatory,

Punitive, Damages, Trial By Jury; All other equitable relief This Court deem Equitable.


~CT~UBMITTED~

Arthur Carson
10434 W. 36th Street #10-B
Little Rock, AR 72204
(artq1rson67@gmaii.Com)

 I, Arthur Carson.states the foregoing claims are true and correct to the best of My knowledge,

Pursuant to the Penalties of perjury, 28 USC 1746.

  I swear thJ-foregoing statements are true and correct.
 {);f;t...._ ~ .              . Datedthis4thdayofMarch, 2020.
Arthur Carson
In Propria Persona


                                               (6)
          Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 41 of 87




                                                                I   .




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;s-
                                                        llneed.to talkwith you
                                                        ·-i ndmtllboot--a     O•   •   -

- ,,                                                     tscalating problem with
  Cr>                                                    Mike and his associates
-,:--\
     --                                                  ih what I assume as
                                                         their ongoing effort to
~                                                        stop current policy by
                                                        :~ urning I will quit
                                                                Text message 3:4 5 AIJ
Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 42 of 87
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                          Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 44 of 87
                  LITTLE ROCK POLICE DEPARTMENT INCIDENT REPORT
  • JUVENILE INFORMATION I           INCIDENT           Report generated: 2/20/2020 4:45 AM

 INCIDENT NUMBER                                                UNIT ASSIGNED             CALL DATE                     CALL TIME                        TYPE OF CALL
                 2020-019834                                             2X40               02/19/2020                      20:05:00                              ASLTJO
 INCIDENT DATE                                                                LOCATION OF INCIDENT (ADDRESS/ BUSINESS NAME)                                               DISTRICT
                                                                                                       1015 S LOUISIANA ST
              2/19/2020 7:50:00 PM                                                                                                                                                    40


                                                                                     OFFENSE
 INCIDENT OFFENSE TYPE                                                                                                                                   OFFENSE STATUS

 I. BATTERY 3RD DEGREE
 2. ASSAULT 3RD DEGREE
 3.
                                                                         s.
                                                                         6.
                                                                                                                                             Allempled
                                                                                                                                             Completed       1~2~3848
                                                                                                                                                             s8 8 8 ·8
                                                                         7.
                                                                                                                                             Anempted
 4.                                                                      I.                                                                                           6           1
                                                                                                                                             Completed


 SUSPECTS USED:                                                 TYPE OF CRIMINAL ACTIVITY:                                                                   GANG RELATED INFO:
 [tj{A) Alcohol                0CD)Drugs                        0(8) Buying/ Receiving               D {C) Cultivate /Manufacture/ Publish                   0 {J) Juvenile Gang
 O<C> Computer Equip           •     (N) Nol Applicable /
                                     Unknown
                                                                0CE) Exploiting Children             0(0) Operating/ Promoting/ Assisting                    D {G) Other Gang
                                                                0 {T) Transport / Transmit / Import 0{U) Using/ Consuming                                    [ti (N) None/ Unknown
                                                                0 (D) Distributing/ Selling         D (P) Possessing / Concealing
 LOCATION CODE:                                    0 (I 6) Lake / Waterway                   0(44} Daycare Facility                          0(51) Rest Area
 0(01) Air/ Bus /Train Terminal                    0 (17) Liquor Store                       0 (45) Dock/ Wharf/ Freight Terminal            0(52) School-College/ University
 0(02) Bank/ Savings & Loan                        0 (18) Parking Lot I Garage               0(46) Fann Facility                             0(53) School- Elementary/ Secondary
 0(03) Bar /Night Club                             0(19) Rental/ Storage Facility            0(47) Gambling/ Casino/ Racetrack               lt](54) Shelter- Mission/ Homeless
 0(04) Church/ Synagogue/ Temple                   0 (20) Residence / House                  0 (48) Industrial Site                          0(55) Shopping Mall·
 0(05) Commercial/ Office Building                0 (21) Restaurant                          0(49) Military Installation                     0(56) Tribal Lands
 0(06) Construction Site                          0 (22) School / College                    0 (SO) Park / Playground                        0(57) Community Center
 0(07) Convenience Store                          0 (23) Service / Gas Station
 D (08) Department / Discount Store               0(24) Specialty Store (TV, Fur, Etc)
 0 (09) Drug Store / DR Office / Hospital         0 (25) Other/ Unknown                           WEAPON FORCE:         (on I I-IS, an "A" deaoleo Automatic or Somi-AutomatioJ

 0(10) Field/ Woods                               0(37) Abandoned/Condemned Structure         _ 0 (11) Fireann (Unknown)                              0 (50) Poison
 0(1 I) Government/ Public Building               0(38) Amusement Park                        _     0(12)Handgun                                      0<60)Explosives
 002) Grocery/ Supennarket                        0(39) Arena/ Stadium/ Fairgrounds          _      0 ( I 3) Rifle                                    O (65) Fire/ Incendiary Device
 0(13) Highway/ Road/ Alley                       0(40) ATM Separate from Bank               _      004) Shotgun                                      0(70) Narcotics/ Drugs/
0(14) Hotel/ Motel I Etc                          0(41) Auto Dealership New/ Used                   0(15) Other Firearm                                 Sleeping Pills

0 ( I 5) Jail / Penitentiary                      0(42) Camp I Campground                     0 (20) Knife/ Cutting Instr (Axe, etc)                  0(85) Asphyxiation
1--------------------------1 0(30) BluntObject(Club, etc)                                                                                             D (90) Other
 (FOR BURGLARY ONLY)                                   METHOD OF ENTRY:                       0 (35) Motor Vehicle (as weapon}                        0 (95) Unknown
 NUMBER OF PREMISES ENTERED                                                                   lt](40) Personal Weapons (hands, etc)                   0(99)None
                                                      0(F) Forcible       0CN) No Force

 NARCAN USED:         0Yes            0No       Ootber




                               ·-·

 ENTRY DATE                              REPORTING OFFICER                                        ORIGINAL APPROVING SUPERVISOR
                                                                                                                                                                     0MVRin use
 02/20/2020 02:02:50 AGHOGHO ONIOVOS - 34305                                                      DERRICK THREADGILL - 27113

                                                                                             LRPD Fonn 5501-01 Rev. RMS-2019-01-23                                                    Page I of?

                                                                                                                                                                                           -~·l(
                       Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 45 of 87
 INCIDENT NiJMBER         2020-019834                                •   JUVENILE INFORMATION                                  Report generated: 2/20/2020 4:45 AM



                                                                             VICTIM
       VICTIM#            NAME (Last, Fint, Middle) or BUSINESS
           1                                                              CARSON,ARTHUR
ADDRESS:
                                                   1015 S LOUISIANA ST LITTLE ROCK AR 72202
HOME PHONE:                                     WORK PHONE:                             MOBILE PHONE:                               OTHER PHONE:
                                                5015081090
SEX:    li)(M)Male                 ETHNICITY:      0 (H)Hispanic           RACE: O(W)Wbite        0 (B) Black   O (I) American Indian           DATE OF BIRTH
0<F)Female        O<U) Unk.        0 (N) Non-Hispanic      O (U) Unk.                0(A) Asian/ Pacific Islander O(U) Unknown                         04/04/1954
RES. STATUS:          0 (R) Resident         MENTALLY AFFLICTED?                       OCCUPATION/ EMPLOYER:
0 (N) Nonresident O(U) Unknown               0CV)Yes ltJCN)No 0(U)Unk.

AGE:                                                              NIC:                                  . RELATIONSHIP OF THIS VICTIM TO SUSPECTS
Exact Age:          65                                                                                    SUSPECT(S) VICTIM WAS:         (by Suspect Number)
Ranae:     -
        ------                   0(BB) 7-364 Days Old                                                               (SE) Spouse                 1      (AQ) Acquaintance
0 (NN) Under 24 Hrs. Old         0 (99) Over 98 Years Old         D.L. / ID No. /STATE)                             (CS) Common-Law
                                                                                                                                                       (FR) Friend
                                                                                                                    SpCI\IIO

0CNB> 1-6 Days Old               0(00) Unknown                                                                      (PA) Parent                        (NE) Neighbor
                                                                                                                    (SB) Sibling                       (BE) Babysitter (baby)
THIS VICTIM RELATED TO WHICH OFFENSES?                                                                              (CH)Child                          (BO) Boy/Girl Friend
It]!    lt]2    03       04       Os       06     07       OB                                                       (OP) Grandparents                  (CF) Child of BF/ OF

                                                                                                                    (OC) Grandchild                    (HR)   Homosexual Rel.
VICTIM TYPE:       lt)(l) Individual       0(B) Business      O(F) Financial Inst.     0 (U) Unknown
                                                                                                                    (IL)lnlaw                          (XS) Ex-Spouse
                   0(G) Government 0 (R) Religious            0(S) Society/ Public 0(0)0ther
                                                                                                                    (SP) Stepparent                    (EE) Employee
VICTIM INJURY:                                                                                                      (SC) Stepchild                     (ER) Employer
li](N)None                         0 (M) Apparent Minor Injury           0 (B) Apparent Broken Bones                (SS) Stepaibling                   (OK) Olhelwioe Known
0 (I) Possible Internal Injury     Orn Loss ofTeeth                      0CL) Severe Laceration                     (OF) Other Family                  (RU) RelaliOfllbip Unknown
0 (0) Other Major Injury           O(U) Unconsciousness                                                             (ST) Stranger                      (VO) Victim Wu SlllpCCI


AGGRAVATED ASSAULT/ HOMICIDE: 0(01) Argument                                         0(02) Assault on Law EnfOfficer           0 (03) Drug Deal
0(04} Gangland                                0 (05) Juvenile Gang                   0(06) Lover's Quarrel                     0 (07) Mercy Killings
0(08) Other Felony Involved                   0 (09) Other Circumstances             0(10) Unknown Circumstances               0(20) Criminal Killed by Private Citizen
0 (21) Criminal Killed by Police Officer      0(30) Child Playing w/ Weapon          0 (31) Gun-Cleaning Accident              0   (32) Hunting Accident
0 (33) Other Negligent Weapon Handling        0(34) Other Negligent Killings

CLOTHING DESCRIPTION
HAT                                                          SHIRT                                                  SHOES
COAT                                                         PANTS/DRESS




                                                                                                                                                                   Page 2 of7
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 INCIDENT NUMBER            2020-019834                                     0 JUVENILE INFORMATION                              Report generated: 2/20/2020 4:45 AM



                                                                                  VICTIM
           VICTIM#          NAME (Last, First, Middle) or BUSINESS

             2                                                                  MAHOSKY,LUKE
ADDRESS:

                                                        1015 S LOUISIANA ST LITTLE ROCK AR 72202
HOME PHONE:                                        WORK PHONE:                              MOBILE PHONE:                               OTHER PHONE:
5016976111

SEX:        IZ](M)Male                ETHNICITY:       O(H)Hispanic             RACE:    IZ](W)White   0(B) Black Om American Indian            DA TE OF BIRTH
0(F)Fcmale           0(U) Unk.        IZ] (N) Non-Hispanic     D (U) Unk.                OCA) Asian/ Pacific Islander O(lJ) Unknown                    12/19/1982

RES. STATIJS:            IZ] (R) Resident        MENTALLY AFFLICTED?                       OCCUPATION I EMPLOYER:
0CN) Nonresident         D (U) Unknown           0(Y)Yes       IZ] (N) No   D (U) Unk.
AGE:                                                                   NIC:                                   RELATIONSHIP OF THIS VICTIM TO SUSPECTS
Exact Age:            37                                                                                      SUSPECTfS) VICTIM WAS:                   (by Suspect Number)
Ran11,e:
            ------                0(BB) 7-364 Days Old                                                                  (SE) Spouse                     (AQ) Acquaintance
•   (NN) Under 24 Hrs. Old        D (99) Over 98 Ycars Old             D.L. / ID No. CSTATEl                            (CS) Common-Law
                                                                                                                                                        (FR) Friend

                                  •
                                                                                                                        Spouse
0CNB) 1-6 Days Old                    COO) Unknown                                                                      (PA) Parent                     (NE) Neighbor

                                                                                                                        (SB) Sibling                    (BE) Babysitter (baby)
THIS VICTIM RELATED TO WHICH OFFENSES?                                                                                  (CH)Child                       (BG) Boy/Girl Friend
IZJ I       02    03       04      Os         06      07       Os                                                       (GP) Grandparents               (CF) Child of BF / GF

                                                                                                                        (GC) Grandchild                 (HR) Homosexual Rel.
VICTIM TYPE:         IZ](J) Individual        0 (B) Business      0CF) Financial Inst.     0 (U) Unknown
                                                                                                                        (IL) lnlaw                      (XS) Ex-Spouse
                     0(G) Government 0 (R) Religious              Desi Society/ Public     0(0)0ther
                                                                                                                        (SP) Stepparent                 (EE) Employee
VICTIM INJURY:                                                                                                          (SC) Stepchild                  (ER) Employer
0(N)Nonc                              D (M) Apparent Minor In_jury            0(B) Apparent Broken Bones
                                                                                                                        (SS) Stepsibling                (OK) Otherwise Known
0 (I) Possible Internal Injury        0     (T) Loss ofTceth                  0(L) Severe Laceration                                                    (RU) Rol1tionship Unblown
                                                                                                                        (OF) Other Family
0 (0) Other Major Injury              0     CU) Unconsciousness
                                                                                                                        (ST) Stranger                   (VO) Victim Was St11poc1


AGGRAVATED ASSAULT I HOMICIDE: 0(01) Argument                                            0 (02) Assault on Law Enf Officer     0(03) Drug Deal
0(04) Gangland                                    D (05) Juvenile Gang                   0 (06) Lover's Quarrel                D (07) Mercy Killings
0(08) Other Felony Involved                       D (09) Other Circumstances             DOD) Unknown Circumstances            0 (20) Criminal Killed by Private Citizen
0 (21) Criminal Killed by Police Officer          0(30) Child Playing w/ Weapon          D (31) Gun-Cleaning Accident          0 (32) Hunting Accident
0(33) Other Negligent Weapon Handling             D (34) Other Negligent Killings
CLOTHING DESCRIPTION

HAT                                                               SHIRT                                                 SHOES
COAT                                                              PANTS/DRESS




                                                                                                                                                                    Page 3 of 7
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INCIDENT NUMBER          2020-019834                               •   JUVENILE INFORMATION                              Report generated: 2/20/2020 4:45 AM



                                                                       SUSPECT#!
     SUSPECT#            NAME (Last, First, Middle)                                                               AKA:
         1                                                         SINCLAIR,DOMINIQUE
   ARRESTEE#             ADDRESS:
                                                       3919 W 13TH ST LITTLE ROCK AR 72204
HOME PHONE:                                  WORK PHONE:                             MOBILE PHONE:                               OTHER PHONE:



SEX:   @(M)Male                   ETHNICITY:     0 (H)Hispanic          RACE:   O<WJ White       lt](B) Black 0(1) American Indian        DATE OF BIRTH
0CF)Female      0(U)Unk.         @CN) Non-Hispanic 0CU) Unk.                    0 (A) Asian I Pacific Islander   O (U) Unknown                  02/09/1986
RES. STATUS:        Ii) (R) Resident       MENTALLY AFFLICTED?                     OCCUPATION/ EMPLOYER:
0 (N) Nonresident 0 (U) Unknown           0CY)Ycs [ZJ(N) No 0CU) Unk.

AGE:                           SUSPECTS ACTIONS RELATED TO:              NIC:                            HEIGHT:             WEAPONS AT ARREST:
Exact Age:        34           ~VI
                                vs
                                         av2
                                           V6
                                                      BV3
                                                       V7
                                                             BV4
                                                              V8
                                                                                                         Ft
                                                                                                         In
                                                                                                                                  0(01) Unarmed               >   I
                                                                                                                                                                  I
Ranae:
       ---      -                                                                                                                 0 (1 I) Firearm {Unk)
                                                                                                                             -                                    ~
0 (99) Over 98 Years Old
O<OO) Unknown                 BDISPOSmON OF JUVENILE:
                                 (H) Handled within Department
                                 (R) Referred outside Department
                                                                         D.L. / ID No. (STATE)           WEIGHT:
                                                                                                         Lbs                -     0(12) Handgun
                                                                                                                                  0(13)Rifle                      i.
                                                                                                                             -    0(14) Shotgun
                                                                                                                                                               n
                                                                                                                                                              ._,
THIS SUSPECT RELATES TO WHICH OFFENSES?                        ARREST TYPE:                0(0) On View Arrest               -    0(15) Other Firearm
@I     @2      03      04       Os      06      07     Os     0 (S) Summons / Cited        0 (T) Taken Into Custody          -
                                                                                                                             0 ( 16) Illegal Cutting Instrument
ARREST LOCATION:                                                                            ARREST DATE:
                                                                                                                             0 (17) Club/Blackjack/Brass


CHARGE:       5-13-203            5-13-207

 ARRESTING OFFICERS
 OFFICER I:                                                 0MVR          OFFICERS:                                                  0MVR
 OFFICER 2:                                                 0MVR          OFFICER 6:                                                 0MVR
 OFFICER 3:                                                 0MVR          OFFICER 7:                                                 0MVR
 OFFICER 4:                                                 0MVR          OFFICER 8:                                                 0MVR


                                                                                                                  Suspect information continued on next page.




                                                                                                                                                           Page 4 of?
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INCIDENT NUMBER 2020-019834                                0 JUVENILE INFORMATION                               Report generated: 2/20/2020 4:45 AM



                                                               SUSPECT#l
     SUSPECT#       NAME (Last, First, Middle)                                                           AKA:
          1                                                   SINCLAIR,DOMINIQUE

COMPLEXION:       HAIR STYLE:           HAIR COLOR:        FACIAL HAIR:            DEMEANOR:                SCAR/MARK:               TATTOO:
O(l)Light
0(2)Medium
                 0(0l)Afro
                 0(02)Wavy
                                        • (!)Black
                                        0(2) Blonde
                                                           0(01) Clean Shaven
                                                           0 (02) Unshaven
                                                                                   0(01) Angry
                                                                                   0(02) Apologetic
                                                                                                            0(0l)Head
                                                                                                            0(02)Ncck
                                                                                                                                     0(1)Designs
                                                                                                                                     0 (2) Initials
Dmoark           0(03) Straight         O(J)Brown          0(03) Full Beard        0(03)Calm                0 (03) Hand (rt)         0(J)Names
0(4) Acne
0 (5) Freckled
0(6) Ruddy
                 0(04) Curly
                 0(05) Braided
                 0(06) Ponytail
                                        8(5)
                                        0(4) Grey
                                                 Red
                                             (6) Sandy
                                                           0(04) Must. (hvy)
                                                           0 (05) Must. (thin)
                                                           0 (06) Brows (hvy)
                                                                                   0(04) Irrational
                                                                                   0 (05) Nervous
                                                                                   0(06) Polite
                                                                                                            0 (04) Hand (1ft)
                                                                                                            0(05) Arm (rt)
                                                                                                            0(06) Ann (1ft)
                                                                                                                                     0(4) Pictures
                                                                                                                                     0(5) Words
                                                                                                                                     0(6) Numbers
~(7)0ther
   (8) Unknown
                 8(07) Military
                   (08) Processed
                                        •0   mother
                                             (8) Unknown
                                                           0(07) Brows (thin)
                                                           0(08) Side Bums
                                                                                   0 (07) Professional
                                                                                   0 (08) Stupor
                                                                                                            0(07) Body
                                                                                                            0(08) Leg (rt)
                                                                                                                                     0(7)Insignia
                                                                                                                                     0(8)None
                 0(09) Wig/Toupee                          0(09) Goatee            0(09) Violent            0 (09) Leg (1ft)         0(9) Unknown
HAIR LENGTH:                            EYE COLOR:                                                          O(IO)Other
                 0(10) Other                               000)0ther               000) Drunk/ High
Do> Long         0(11) Unknown          B(l)Blue           @O O Unknown            0(11) Other              0(Il)Norie               TATTOOLOC:
0(2)Medium                                 (2) Brown                               0(12) Unknown            2)(12) Unknown           0(01) Arm (1ft)
                 BUILD:
0(3) Short                              0(3) Grey                                                                                    0(02) Ann (rt)
0(4) Bald(ing)   0(l)Light              0(4)Green          CLOTHING DESCRIPTION:                                                     8(03) Leg (1ft)
0(5) Other       0(2)Medium             0<5) Hazel                                                                                     (04 l Leg (rt)
                                                           HAT                                                                       0 (05) Hand (1ft)
2)(6) Unknown    0(3)Heavy              0(6) Other
                 ~(4)Muscular           0 (7) Unknown      COAT                                                                      0(06) Hand (rt)
                    (5) Unknown                            SHIRT                                                                     8(07) Face
                                                           PANTS/DRESS                                                                 (08) Neck
                                                           SHOES                                                                     0(09) Finger(s)
                                                                                                                                     0(10) Chest
                                                                                                                                     0(11) Back

ADDED DESCRIPTION:
   n/a




                                                                                                                                               Page 5 of7
               Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 49 of 87
 INCIDENT NUMBER   2020-019834         0 JUVENILE INFORMATION          Report generated: 2/20/2020 4:45 AM




                                         NARRATIVE
 CONTACT WAS MADE WITH MR. CARSON, WHO WORKS AT THE LOCATION. MR. CARSON ADVISED MR. SINCLAIR
CAME BACK INTO THE BUSINESS AFTER BEING TOLD NOT TO RETURN. MR. CARSON STATED MR. SINCLAIR PUSH
THE DOOR INSIDE THE BUSINESS, WHICH RESULTED IN MR. CARSON GETTING STRUCK IN THE FACE WITH THE
DOOR. MR. MAHOSKY ADVISED HE GRABBED MR. SINCLAIR IN AN ATTEMPT TO RESTRAIN HIM. MR. MAHOSKY
ADVISED HE TOOK MR. SINCLAIR TO THE GROUND. MR. MAHOSKY ADVISED HE LET MR. SINCLAIR GO. MR.
MAHOSKY STATED MR. SINCLAIR KICKED HIM IN THE HEAD. I OBSERVED A HEMATOMA ON THE RIGHT SIDE OF MR.
MAHOSKY'S FOREHEAD. MR. MAHOSKY ADVISED HE DID NOT NEED AN AMBULANCE AND DID NOT WANT TO
PRESS CHARGES ON MR. SINCLAIR. I DID NOT OBSERVE ANY INJURES ON MR. CARSON'S FACE. MR. CARSON
WAS GIVEN THE INCIDENT NUMBER TO THIS REPORT AND ADVISED SEEK WARRANTS. OFFICERS CIRCULATED
THE AREA FOR MR. SINCLAIR WITH NEGATIVE RESULTS. MVR IN USE.




                                                                                                      Page 6 of7
  ,   I
                       Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 50 of 87
INCIDENT ~UMBER          2020-019834                                  •    JUVENILE INFORMATION                                Report generated: 2/20/2020 4:45 AM



ADDITIONAL HOMICIDE CIRCUMSTANCES                                             0 (C) Criminal attacked a civilian                      0 (F) Criminal resisted arrest
Q(A) Criminal attacked police officer, that officer killed criminal
0(B) Criminal attacked police officer, criminal killed by other officer
                                                                              0(0) Criminal attempted flight from a crime
                                                                              0 (E) Criminal killed in commission of a crime
                                                                                                                                      •   (G) Unable to determine I
                                                                                                                                              not enough information

RELATED CASE NUMBER(S)

CARJACKING? QYES [ZINO                                                    DRIVE-BY?   •   YES [ZINO                              GANG RELATED?         QYES [l!NO

                                             HATE/BIAS RELATIONSHIP:                       0(88) None          0   YES, SEE BELOW
RACIAL (Anti-)                            RELIGIOUS (Anti-)                    ETHNICITY I NATIONAL ORIGIN (Anti-)                SEXUAL (Anti-)
Don White                                 0(2l)Jewish                          0 (32) Hispanic                                    0(41) Male Homosexual (Gay)
0(12)Black                                0f22) Catholic                       Om>    Other Ethnicity                             0(42) Female Homosexual (Lesbian)
0(13) American Indian/                    0(23) Protestant                                                                        0(43) Homosexual (Gay and Lesbian)
                                                                               DISABILITY (Anti-)
  Alaskan Native                          0(24) Islamic (Muslim)                                                                  0(44) Heterosexual
004) Asian/ Pacific Islander              D  (25) Other Religion               0 (5 I) Physical Disability                        0(45) Bisexual
Dos) Multi-Racial Group                   0(26) Multi-Religious Group          0(52) Mental Disability
                                          0 (27) Atheist/Agnostic




                                                                                                                                                                 Page 7 of?
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                   IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                       HON. ALICE S. GRAY - 12TH DIVISION 6TH CIRCUIT

                    ARTHUR CARSON V WOLFE STREET FOUNDATION ET AL

                                             60CV-20-1941

                                               SUMMONS

THE STATE OF ARKANSAS TO DEFENDANT:

JAMES BOILING
1015 S LOUISIANA ST
LITTLE ROCK, AR 72202

A lawsuit has been filed against you. The relief demanded is stated in the attached complaint. Within
30 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are incarcerated in any jail, penitentiary, or other correctional facility in Arkansas - you must file with
the clerk of this court a written answer to the complaint or a motion under Rule 12 of the Arkansas
Rules of Civil Procedure.

The answer or motion must also be served on the plaintiff or plaintiff's attorney, whose name and
address are:

ARTHUR CARSON
10434 W 36TH ST
Little Rock, AR 72204

If you fail to respond within the applicable time period, judgment by default may be entered against
you for the relief demanded in the complaint.

Additional notices:
•Notice of Right to Consent to Disposition of Case by a State District Court Judge



                                                     CLERK OF COURT
Address of Clerks Office

TERRI HOLLINGSWORTH, CIRCUIT CLERK
CIRCUIT COURT OF PULASKI COUNTY
401 W. MARKHAM
                                                     TIMOTHY BRYANT, DC
LITTLE ROCK, AR 72201
                                                     Date: 03/16/2020
               Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 52 of 87

                              NOTICE OF RIGHT TO CONSENT
                TO DISPOSITION OF CASE BY A STATE DISTRICT COURT JUDGE

In accordance with Administrative Order Number 18, you are hereby notified that upon the consent of
all the parties in a case, a State District Court Judge may be authorized to conduct all proceedings,
including trial of the case and entry of a final judgment. Copies of appropriate consent forms are
available from the Circuit Clerk.

You should be aware that your decision to consent or not to consent to the disposition of your case
before a State District Court Judge is entirely voluntary, and by consenting to the reference of this
matter to a State District Court Judge, the parties waive their right to a jury trial, and any appeal in the
case shall be taken directly to the Arkansas Supreme Court or Court of Appeals as authorized by law.

You should communicate your consent by completing the Form -- CONSENT TO PROCEED
BEFORE A STATE DISTRICT COURT JUDGE -- and return to the Circuit Clerk.




                                                      Circuit Clerk
                                                      Date: 03/16/2020
               Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 53 of 87

No. 60CV-20-1941 This summons is for JAMES BOILING (name of Defendant).



                                         PROOF OF SERVICE

D On _ _ _ _ _ _ _ _ [date] I personally delivered the summons and complaint to the individual
at                                                        [place]; or

D After making my purpose to deliver the summons and complaint clear, on _ _ _ _ _ _ __
[date] I left the summons and complaint in the close proximity of the defendant by
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [describe how the
summons and complaint was left] after he/she refused to receive it when I offered it to him/her; or

D On _ _ _ _ _ _ _ _ [date] I left the summons and complaint with _ _ _ _ _ _ _ _ , a
member of the defendant's family at least 18 years of age, at _ _ _ _ _ _ _ _ _ _ __
[address], a place where the defendant resides; or

D On _ _ _ _ _ _ _ _ [date] I delivered the summons and complaint to _ _ _ _ _ _ __
[name of individual], an agent authorized by appointment or by law to receive service of summons on
behalf of _ _ _ _ _ _ _ _ _ _ _ [name of defendant]; or

D On _ _ _ _ _ _ _ [date] at _ _ _ _ _ _ _ _ _ _ _ _ [address], where the
defendant maintains and office or other fixed location for the conduct of business, during normal
working hours I left the summons and complaint with

[name and job description]; or

D I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons
and complaint on the defendant by certified mail, return receipt requested, restricted delivery, as
shown by the attached signed return receipt.

D I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I mailed a copy of the
summons and complaint by first-class mail to the defendant together with two copies of a notice and
acknowledgment and received the attached notice and acknowledgment form within twenty days after
the date of mailing.

D Other [specify]:



D I was unable to execute service because:




My fee is $ _ _ .
               Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 54 of 87


To be completed if service is by a sheriff or deputy sheriff:

Date: - - - - - -             SHERIFF OF - - - - COUNTY, ARKANSAS


                              By:-------------
                              [Signature of server]



                              [Printed name, title, and badge number]

To be completed if service is by a person other than a sheriff or deputy sheriff:

Date: - - - - - -              By: _ _ _ _ _ _ _ _ _ __
                              [Signature of server]



                              [Printed name]

Address:
           ---------------------------

Phone:
         -------------
Subscribed and sworn to before me this date: - - - - - -



                               Notary Public

My commission expires: _ _ _ _ _ _ _ __

Additional information regarding service or attempted service:
               Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 55 of 87

                   IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                       HON. ALICE S. GRAY - 12TH DIVISION 6TH CIRCUIT

                    ARTHUR CARSON V WOLFE STREET FOUNDATION ET AL

                                             60CV-20-1941

                                               SUMMONS

THE STATE OF ARKANSAS TO DEFENDANT:

VICKIE SIEBENMORGEN
1015 S LOUISIANA ST
LITTLE ROCK, AR 72202

A lawsuit has been filed against you. The relief demanded is stated in the attached complaint. Within
30 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are incarcerated in any jail, penitentiary, or other correctional facility in Arkansas - you must file with
the clerk of this court a written answer to the complaint or a motion under Rule 12 of the Arkansas
Rules of Civil Procedure.

The answer or motion must also be served on the plaintiff or plaintiff's attorney, whose name and
address are:

ARTHUR CARSON
10434 W 36TH ST
Little Rock, AR 72204

If you fail to respond within the applicable time period, judgment by default may be entered against
you for the relief demanded in the complaint.

Additional notices:
•Notice of Right to Consent to Disposition of Case by a State District Court Judge



                                                     CLERK OF COURT
Address of Clerks Office

TERRI HOLLINGSWORTH, CIRCUIT CLERK
CIRCUIT COURT OF PULASKI COUNTY
401 W. MARKHAM
                                                     TIMOTHY BRYANT, DC
LITTLE ROCK, AR 72201
                                                     Date: 03/16/2020
               Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 56 of 87

                              NOTICE OF RIGHT TO CONSENT
                TO DISPOSITION OF CASE BY A STATE DISTRICT COURT JUDGE

In accordance with Administrative Order Number 18, you are hereby notified that upon the consent of
all the parties in a case, a State District Court Judge may be authorized to conduct all proceedings,
including trial of the case and entry of a final judgment. Copies of appropriate consent forms are
available from the Circuit Clerk.

You should be aware that your decision to consent or not to consent to the disposition of your case
before a State District Court Judge is entirely voluntary, and by consenting to the reference of this
matter to a State District Court Judge, the parties waive their right to a jury trial, and any appeal in the
case shall be taken directly to the Arkansas Supreme Court or Court of Appeals as authorized by law.

You should communicate your consent by completing the Form -- CONSENT TO PROCEED
BEFORE A STATE DISTRICT COURT JUDGE -- and return to the Circuit Clerk.




                                                      Circuit Clerk
                                                      Date: 03/16/2020
               Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 57 of 87

No. 60CV-20-1941 This summons is for VICKIE SIEBENMORGEN (name of Defendant).



                                         PROOF OF SERVICE

D On _ _ _ _ _ _ _ _ [date] I personally delivered the summons and complaint to the individual
at                                                        [place]; or

D After making my purpose to deliver the summons and complaint clear, on _ _ _ _ _ _ __
[date] I left the summons and complaint in the close proximity of the defendant by
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [describe how the
summons and complaint was left] after he/she refused to receive it when I offered it to him/her; or

D On _ _ _ _ _ _ _ _ [date] I left the summons and complaint with _ _ _ _ _ _ _ _ , a
member of the defendant's family at least 18 years of age, at _ _ _ _ _ _ _ _ _ _ __
[address], a place where the defendant resides; or

D On _ _ _ _ _ _ _ _ [date] I delivered the summons and complaint to _ _ _ _ _ _ __
[name of individual], an agent authorized by appointment or by law to receive service of summons on
behalf of _ _ _ _ _ _ _ _ _ _ _ [name of defendant); or

D On _ _ _ _ _ _ _ [date] at _ _ _ _ _ _ _ _ _ _ _ _ [address], where the
defendant maintains and office or other fixed location for the conduct of business, during normal
working hours I left the summons and complaint with

[name and job description]; or

D I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons
and complaint on the defendant by certified mail, return receipt requested, restricted delivery, as
shown by the attached signed return receipt.

• I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I mailed a copy of the
summons and complaint by first-class mail to the defendant together with two copies of a notice and
acknowledgment and received the attached notice and acknowledgment form within twenty days after
the date of mailing.

D Other [specify]:



D I was unable to execute service because:




My fee is $ _ _ .
               Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 58 of 87


To be completed if service is by a sheriff or deputy sheriff:

Date: - - - - - -             SHERIFF OF _ _ _ COUNTY, ARKANSAS


                              By:------------
                              [Signature of server]



                              [Printed name, title, and badge number]

To be completed if service is by a person other than a sheriff or deputy sheriff:

Date: - - - - - -             By:------------
                              [Signature of server]



                              [Printed name]

Address:
           --------------------------

Phone:
         ------------
Subscribed and sworn to before me this date: - - - - - -



                               Notary Public

My commission expires: _ _ _ _ _ _ __

Additional information regarding service or attempted service:
               Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 59 of 87

                   IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                       HON. ALICE S. GRAY - 12TH DIVISION 6TH CIRCUIT

                    ARTHUR CARSON V WOLFE STREET FOUNDATION ET AL

                                             60CV-20-1941

                                               SUMMONS

THE STATE OF ARKANSAS TO DEFENDANT:

 WOLFE STREET FOUNDATION
1015 S LOUISIANA ST
LITTLE ROCK, AR 72202

A lawsuit has been filed against you. The relief demanded is stated in the attached complaint. Within
30 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are incarcerated in any jail, penitentiary, or other correctional facility in Arkansas - you must file with
the clerk of this court a written answer to the complaint or a motion under Rule 12 of the Arkansas
Rules of Civil Procedure.

The answer or motion must also be served on the plaintiff or plaintiff's attorney, whose name and
address are:

ARTHUR CARSON
10434 W 36TH ST
Little Rock, AR 72204

If you fail to respond within the applicable time period, judgment by default may be entered against
you for the relief demanded in the complaint.

Additional notices:
•Notice of Right to Consent to Disposition of Case by a State District Court Judge



                                                     CLERK OF COURT
Address of Clerks Office

TERRI HOLLINGSWORTH, CIRCUIT CLERK
CIRCUIT COURT OF PULASKI COUNTY
401 W. MARKHAM
                                                     TIMOTHY BRYANT, DC
LITTLE ROCK, AR 72201
                                                     Date: 03/16/2020
               Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 60 of 87

                              NOTICE OF RIGHT TO CONSENT
                TO DISPOSITION OF CASE BY A STATE DISTRICT COURT JUDGE

In accordance with Administrative Order Number 18, you are hereby notified that upon the consent of
all the parties in a case, a State District Court Judge may be authorized to conduct all proceedings,
including trial of the case and entry of a final judgment. Copies of appropriate consent forms are
available from the Circuit Clerk.

You should be aware that your decision to consent or not to consent to the disposition of your case
before a State District Court Judge is entirely voluntary, and by consenting to the reference of this
matter to a State District Court Judge, the parties waive their right to a jury trial, and any appeal in the
case shall be taken directly to the Arkansas Supreme Court or Court of Appeals as authorized by law.

You should communicate your consent by completing the Form -- CONSENT TO PROCEED
BEFORE A STATE DISTRICT COURT JUDGE -- and return to the Circuit Clerk.




                                                      Circuit Clerk
                                                      Date: 03/16/2020
               Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 61 of 87

No. 60CV-20-1941 This summons is for WOLFE STREET FOUNDATION (name of Defendant).



                                         PROOF OF SERVICE

D On _ _ _ _ _ _ _ _ [date] I personally delivered the summons and complaint to the individual
at                                                        [place]; or

D After making my purpose to deliver the summons and complaint clear, on _ _ _ _ _ _ __
[date] I left the summons and complaint in the close proximity of the defendant by
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [describe how the
summons and complaint was left] after he/she refused to receive it when I offered it to him/her; or

D On _ _ _ _ _ _ _ _ [date] I left the summons and complaint with _ _ _ _ _ _ _ _ , a
member of the defendant's family at least 18 years of age, at _ _ _ _ _ _ _ _ _ _ __
[address], a place where the defendant resides; or

D On _ _ _ _ _ _ _ _ [date] I delivered the summons and complaint to _ _ _ _ _ _ __
[name of individual], an agent authorized by appointment or by law to receive service of summons on
behalf of _ _ _ _ _ _ _ _ _ _ _ [name of defendant]; or

D On _ _ _ _ _ _ _ [date] at _ _ _ _ _ _ _ _ _ _ _ _ [address], where the
defendant maintains and office or other fixed location for the conduct of business, during normal
working hours I left the summons and complaint with

[name and job description]; or

D I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons
and complaint on the defendant by certified mail, return receipt requested, restricted delivery, as
shown by the attached signed return receipt.

D I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I mailed a copy of the
summons and complaint by first-class mail to the defendant together with two copies of a notice and
acknowledgment and received the attached notice and acknowledgment form within twenty days after
the date of mailing.

D Other [specify]:



D I was unable to execute service because:




My fee is $ __ .
               Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 62 of 87


To be completed if service is by a sheriff or deputy sheriff:

Date: - - - - - -             SHERIFF OF _ _ _ COUNTY, ARKANSAS


                              By:-------------
                              [Signature of server]



                              [Printed name, title, and badge number]

To be completed if service is by a person other than a sheriff or deputy sheriff:

Date:   ------                By:-------------
                              [Signature of server]



                              [Printed name]

Address:
           ---------------------------

Phone: - - - - - - - - - - - - -

Subscribed and sworn to before me this date: - - - - - -



                               Notary Public

My commission expires: _ _ _ _ _ _ _ __

Additional information regarding service or attempted service:
       Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 63ELECTRONICALLY
                                                                of 87         FILED
                                                                                      Pulaski County Circuit Court
                                                                                Terri Hollingsworth, Circuit/County Clerk
                                                                                   2020-Mar-24 14:44:01
                                                                                      S0CV-20-1941
                                                                                    C06012: 10 Pages
                   IN THE CIRCUIT COURT OF PULASKI COUNTY
                                CIVIL DIVISION

ARTHUR CARSON                                                                          PLAINTIFF

vs.
                                   CASE NO. 60CV-20-1941

WOLFE STREET FOUNDATION,
VICKIE SIEBENMORGEN, JAMES
BOILING                                                                           DEFENDANTS


           ANSWER TO PLAINTIFF'S COMPLAINT WITH JURY DEMAND

       Come Defendants, Wolfe Street Foundation, Inc. (incorrectly named Wolfe Street

Foundation), Vickie Siebenmorgen, and James Bowling (incorrectly named James Boiling), by

and through their counsel, Barber Law Firm PLLC, and for their Answer to Plaintiffs

Complaint, doe hereby state:

                                            I.      PARTIES

      1.       Defendants are without sufficient information to allow them to admit or deny

the allegations contained in paragraph no. 1 of Plaintiffs Complaint, therefore, said allegations

are denied.

      2.       The allegations in paragraph no. 2 of the Plaintiffs Complaint do not allege or

imply anything. To the extent the allegations contained in paragraph no. 2 allege or imply any

wrongdoing as a basis upon which this lawsuit may be founded, those allegations are denied.

      3.       The allegations in paragraph no. 3 of the Plaintiffs Complaint do not allege or

imply anything. To the extent the allegations contained in paragraph no. 3 allege or imply any

wrongdoing as a basis upon which this lawsuit may be founded, those allegations are denied.




                        Answer - Carson v. Wolfe Street, et al - Page 1 of 10
       Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 64 of 87




       4.      The allegations in paragraph no. 4 of the Plaintiffs Complaint do not allege or

imply anything. To the extent the allegations contained in paragraph no. 4 allege or imply any

wrongdoing as a basis upon which this lawsuit may be founded, those allegations are denied.

                                           II.     JURISDICTION

        5.     Defendants admit only that Plaintiff attempts to invoke jurisdiction of this Court

pursuant to Ark. Code Ann. §11-8-103, Ark. Code Ann. §11-64-122, Ark. Code Ann. §11-5-

115, Ark. Code Ann. §16-123-107, 42 U.S.C. §1983, 29 U.S.C. §654, and 29 U.S.C. §203.

Defendants deny any allegation or implication that any of the aforementioned statutes confer

jurisdiction within this Court.

                                  III.   STATEMENT OF THE CLAIMS

        6.     Defendants deny the allegations contained in paragraph no 11l(A) of Plaintiffs

Complaint.

        7.     Defendants deny the allegations contained in paragraph no 11l(B) of Plaintiff's

Complaint.

        8.      Defendants deny the allegations contained in paragraph no 11l(C) of Plaintiff's

Complaint.

        9.     Defendants deny the allegations contained in paragraph no 11l(D) of Plaintiffs

Complaint.

        10.    Defendants deny the allegations contained in paragraph no III(E) of Plaintiffs

Complaint.

        11.    Defendants deny the allegations contained in paragraph no III(F) of Plaintiffs

Complaint.




                         Answer -    Carson v. Wolfe Street, et al - Page 2 of 10
          Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 65 of 87




          12.    Defendants deny the allegations contained in paragraph no 111(G) of Plaintiffs

Complaint.

          13.    Defendants deny the allegations contained in paragraph no 11l(H) of Plaintiffs

Complaint.

                                    IV.      STATEMENT OF FACTS

          14.    Defendants admit only that on or about February 19, 2020, Plaintiff was an

employee of Wolfe Street Foundation, Inc. To the extent any of the remaining allegations with

paragraph IV(l) allege or imply any wrongdoing on behalf of Defendants, those allegations are

denied.     Specifically, Defendants deny that they failed to take reasonable steps to prevent

workplace violence.       Defendants specifically deny Plaintiff warned anyone regarding

Dominique Sinclair's actions. All remaining allegations are denied.

          15.    Defendants deny the allegations in paragraph IV(2) of Plaintiffs Complaint.

Witness testimony shows that Plaintiff was the aggressor in the altercation with Dominique

Sinclair.

          16.    Defendants deny the allegations in paragraph IV(3) of Statement of Facts of

Plaintiffs Complaint.

          17.    Defendants deny the allegations in paragraph IV(4) of Statement of Facts, and

all sub-paragraphs, of Plaintiffs Complaint.

          18.    Defendants deny the allegations in paragraph IV(5) of Statement of Facts of

Plaintiffs Complaint.

                                                   PRAYER

          19.    Defendants deny that Plaintiff is entitled to any relief sought in his paragraph

entitled "PRAYER".


                         Answer -   Carson v. Wolfe Street, et al - Page 3 of 10
       Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 66 of 87




       20.     All allegations not specifically admitted herein are denied.

                                             JURY DEMAND

       21.     Defendants join Plaintiff's demand for a jury trial for all questions of fact.

                                      AFFIRMATIVE DEFENSES

        1.     Plaintiff's Complaint fails to state a claim upon which relief can be granted.

       2.      Defendants have had no opportunity to conduct discovery and a limited

opportunity to investigate this matter. Therefore, defendants affirmatively plead the following

defenses:


       a.       lack of jurisdiction over the subject matter;

       b.       lack of jurisdiction over the person;

       c.       improper venue;


       d.       insufficiency of process;

       e.       insufficiency of service of process;

        f.      failure to state facts upon which relief may be granted;


        g.      failure to join a party under Rule 19; and

        h.      pendency of another action between the same parties arising out of the same

transaction or occurrence.

        3.      Plaintiff's claims are barred to the extent they seek damages beyond the

applicable statutes of limitations.




                         Answer - Carson v. Wolfe Street, et al - Page 4 of 10
       Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 67 of 87



       4.      In addition to the affirmative defenses pled elsewhere, these defendants

affirmatively plead the following:


               a.     comparative fault;


               b.     duress;


               c.     estoppel;


               d.      exclusiveness of remedy under workman's compensation law;


               e.      failure of consideration;


               f.      fraud;


               g.      illegality;


               h.      lac hes;


               1.      license;


               J.     payment;


               k.      release;


               1.      res judicata;


               m.      set-off;


               n.      statute of fraud;


               o.      statute of limitations;


               p.      waiver; and


               q.      ''unclean hands".
                        Answer - Carson v. Wolfe Street, et al - Page 5 of 10
       Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 68 of 87




       5.      Plaintiff lacks standing regarding various claims he makes in this action.

Plaintiff has failed to exhaust his administrative remedies as to several claims.

       6.      Defendants affrrmatively plead the adverse action, if any, taken action against

Plaintiff was taken because of factors unrelated to any alleged complaints.


       7.      Defendants affrrmatively plead that Plaintiff has failed to mitigate his alleged

damages.

       8.      Defendants affrrmatively plead that any and all employment related decisions

concerning Plaintiff, if any, were based upon legitimate non-discriminatory factors, were done

in good faith, and were done with reasonable cause.

       9.      Defendants affrrmatively state that they acted in good faith at all times.


        10.    Defendants affrrmatively state that Plaintiffs Complaint fails to state a claim for

punitive damages upon which relief can be granted, therefore, any claim for punitive damages

should be dismissed.

        11.    Defendants plead that, to the extent Plaintiffs action seeks punitive damages,

any such relief would place an unreasonable burden on interstate commerce and would violate

Defendants' right to protection from excessive fines, it right to substantive due process, and all

other rights under the Constitutions of the United States and Arkansas.


        12.    Plaintiffs Complaint fails, in whole or in part, because Defendants acted in

good faith and with proper motive. Defendants' conduct with respect to Plaintiff was based on

legitimate, non-discriminatory business reasons, and was not based on any discriminatory

animus and was not in violation of any statute, law, regulation or ordinance.


                        Answer - Carson v. Wolfe Street, et al - Page 6 of 10
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        13.    Plaintiffs claims may be barred by the doctrine of after-acquired evidence.

        14.    In order to preserve affrrmative defenses pending completion of discovery,

Defendant alleges that Plaintiffs claims are barred, in whole or in part, by the operation of the

doctrines of waiver, unclean hands, laches, equitable estoppel, mistake, ratification,

acquiescence, accord and satisfaction, settlement, consent, and/or agreement.

        15.    Pursuant to 29 CFR §778.114(a) and any other applicable laws or legal

principles, the fluctuating work week method for calculating Plaintiffs alleged damages may

apply to Plaintiffs claims for damages.

        16.    Plaintiffs claims are barred because Plaintiff has been paid all wages due to

him under Federal and State law.

        17.     The activities for which Plaintiff was allegedly not compensated, if any,

involved only insubstantial and insignificant periods of time, are de minimis, and are not

compensable under the FMLA and/or AMWA, or any other applicable law or regulation.

        18.     Plaintiffs claims are barred to the extent they seek damages beyond the

applicable statutes of limitations.

        19.     To the extent Plaintiff is entitled to damages, Defendant is entitled to a credit or

set-off against amounts paid to Plaintiff during the course of his employment.

       20.      Defendant affirmatively pleads that Plaintiffs state law claims are preempted to

the extent they conflict with any and all applicable Federal laws, including but not limited to,

the FLSA.

        21.     Plaintiffs causes of action are barred to the extent they seek injunctive,

declaratory and/or other equitable relief, because Plaintiff lacks standing under the FLSA

and/or the AMWA and other applicable laws to seek such relief.


                         Answer - Carson v. Wolfe Street, et al - Page 7 of 10
       Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 70 of 87



       22.     Plaintiffs claims are barred by the provisions of §4 of the Portal-to-Portal Act,

29 U.S.C. §254, as to all hours during which plaintiff was engaged in activities that were

preliminary or postliminary to their principal activities.

       23.     Plaintiffs claims for liquidated damages is barred, in whole or in part, under

§11 of the Portal-to-Portal Act, 29 U.S.C. §260.

        24.    Plaintiffs claims, in whole or in part, are barred by the provisions of §10 of the

Portal-to-Portal Act, 29 U.S.C. §259.

        25.    Defendant affirmatively pleads lack of constructive or actual knowledge of

hours worked and lack of acting pursuant to a uniform plan.

        26.    Defendants are not state actors to whom liability may attach under 42 U.S.C. §

1983. Ams. United for Separation of Church & State v. Prison Fellowship Ministries, Inc., 509

F.3d 406 (8th Cir. 2007).

        27.     Defendants deny that any constitutional violation occurred.

        28.     Defendants deny that any constitutional violation occurred as a result of any

policy, practice or custom of Defendants.

        29.     Defendants assert all doctrines of immunity under the law, including, but not

limited to, good fuith, absolute, tort and statutory immunity.

        30.     Defendants have conducted complete, thorough and meaningful investigations of

all allegations of Plaintiff, including the allegations that are the subject of this Complaint.

Defendants' actions in this regard were objectively reasonable, and Defendants are

entitled to qualified immunity in his/her individual capacity.




                         Answer - Carson v. Wolfe Street, et al - Page 8 of 10
       Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 71 of 87



       31.     Defendants assert as affirmative defenses the existence of probable cause and

reasonable suspicion, res judicata and collateral estoppeL the doctrine of Heck v. Humphrey,

and the Rooker-Feldman doctrine.

       32.     Defendants, to the extent sued in his/her individual capacity, affirmatively

plead statutory, qualified and good faith immunities, and would show the Court that any and

all actions taken were based upon probable cause and reasonable cause, were those of

objectively reasonable perons, and were in accordance with the provisions of statutes and

common law of the United States of America and the State of Arkansas.

       33.     Defendants reserve the right to assert additional affirmative or other defenses in

the event investigation and discovery indicate additional affirmative or other defenses are

appropriate.

       WHEREFORE, having fully answered, Defendants, Wolfe Street Foundation, Inc.,

Vickie Seibenmorgren, and James Bowling, pray that Plaintiffs Complaint be dismissed, and

for all other just and proper relief to which they may be entitled.

                                               Respectfully submitted,

                                                Isl S. Brent Wakefield   AR BIN 99144
                                               BARBER LAW FIRM PLLC
                                               Attorneys for Defendants
                                               3400 Simmons Tower
                                               425 West Capitol Avenue
                                               Little Rock, AR 72201-3414
                                               (501) 372-6175
                                               E-Mail: brent.wakefield@,barberlawfirm.com




                        Answer - Carson v. Wolfe Street, et al - Page 9 of 10
       Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 72 of 87




                               CERTIFICATE OF SERVICE

       I hereby certify that on March 24, 2020, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF system, which shall send notification of such filing to the
following:

Arthur Carson
10434 W 36th Street #10-B
Little Rock, AR 72204
artcarson67@gmail.com

                                                Isl S. Brent Wakefield
                                              S. Brent Wakefield




                       Answer - Carson v. Wolfe Street, et al - Page 10 of 10
                Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 73 of 87
                                                                                      ELECTRONICALLY FILED
                                                                                            Pulaski County Circuit Court
      ~                                                                               Terri Hollingsworth, CircuiUCounty Clerk
                                                                        2020-Mar-25 11 :49:40
No. 6OCV-2O-1941 This summons is for VICKIE SIEBENMORGEN (name of DE fendalltQCV-20-1941
                                                                          C06D12: 5 Pages


                                           PROOF OF SERVICE

?,On :S     - 2-P - ~             ~ate] I personally delivered the summons and complaint to the individual
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               lt.1v(J 1,t('.A.( ~, L/2.: rt f--: '2. ri.o2--         [place]; or

D After making my purpose to deliver the summons and complaint clear, on _ _ _ _ _ _ __
[date] I left the summons and complaint in the close proximity of the defendant by
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [describe how the
summons and complaint was left] after he/she refused to receive it when I offered it to him/her; or

D On _ _ _ _ _ _ _ [date] I left the summons and complaint with _ _ _ _ _ _ _ _ , a
member of the defendant's family at least 18 years of age, at _ _ _ _ _ _ _ _ _ _ __
[address], a place where the defendant resides; or

D On _ _ _ _ _ _ _ _ [date] I delivered the summons and complaint to _ _ _ _ _ _ __
[name of individual], an agent authorized by appointment or by law to receive service of summons on
behalf of _ _ _ _ _ _ _ _ _ _ _ [name of defendant]; or

•   On _ _ _ _ _ _ _ [date] at _ _ _ _ _ _ _ _ _ _ _ _ [address], where the
defendant maintains and office or other fixed location for the conduct of business, during normal
working hours I left the summons and complaint with

[name and job description]; or

D I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons
and complaint on the defendant by certified mail, return receipt requested, restricted delivery, as
shown by the attached signed return receipt.

D I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I mailed a copy of the
summons and complaint by first-class mail to the defendant together with two copies of a notice and
acknowledgment and received the attached notice and acknowledgment form within twenty days after
the date of mailing.

D Other [specify]:



•   I was unable to execute service because:




My fee is $ _ _ .
                  Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 74 of 87
;




    To be completed if service is by a sheriff or deputy sheriff:

    Date:    34..-t:? . .Qd)       SHERIFF OF _ _ _ COUNTY, ARKANSAS
                                     SHERIFE._ERIC S. HIGGINS
                                   By: ~ f .{J---t )µ ,v'.\_
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                                   [Printed name, title, and badge number]

    To be completed if service is by a person other than a sheriff or deputy sheriff:

    Date: - - - - - -              By: _ _ _ _ _ _ _ _ _ __
                                   [Signature of server]



                                   [Printed name]

    Address: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



    Phone:
             -----------
    Subscribed and sworn to before me this date: - - - - -



                                   Notary Public

    My commission expires: _ _ _ _ _ _ __

    Additional information regarding service or attempted service:
              Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 75 of 87
                                                                              1/lUfll-V)_;
                   IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                       HON. ALICE S. GRAY-12TH DIVISION 6TH CIRCUIT                               -·· ·
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                                                                                            re __ . . ··.,
                    ARTHUR CARSON VWOLFE STREET FOUNDATION ET AL
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                                             60CV-20-1941

                                               SUMMONS

THE STATE OF ARKANSAS TO DEFENDANT:

VICKIE SIEBENMORGEN
1015 S LOUISIANA ST
LITTLE ROCK, AR 72202

A lawsuit has been filed against you. The relief demanded is stated in the attached complaint. Within
30 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are incarcerated in any jail, penitentiary, or other correctional facility in Arkansas - you must file with
the clerk of this court a written answer to the complaint or a motion under Rule 12 of the Arkansas
Rules of Civil Procedure.

The answer or motion must also be served on the plaintiff or plaintiffs attorney, whose name and
address are:

ARTHUR CARSON
10434 W 36TH ST
Little Rock, AR 72204

If you fail to respond within the applicable time period, judgment by default may be entered against
you for the relief demanded in the complaint.

Additional notices:
•Notice of Right to Consent to Disposition of Case by a State District Court Judge


                                                     CLERK OF COURT
Address of Clerks Office

TERRI HOLLINGSWORTH, CIRCUIT CLERK
CIRCUIT COURT OF PULASKI COUNTY
401 W. MARKHAM                                       TIMOTHY BRYANT, DC
LITTLE ROCK, AR 72201
                                                     Date: 03/16/2020
              Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 76 of 87


                              NOTICE OF RIGHT TO CONSENT
                TO DISPOSITION OF CASE BY A STATE DISTRICT COURT JUDGE

In accordance with Administrative Order Number 18, you are hereby notified that upon the consent of
all the parties in a case, a State District Court Judge may be authorized to conduct all proceedings,
including trial of the case and entry of a final judgment. Copies of appropriate consent forms are
available from the Circuit Clerk.

You should be aware that your decision to consent or not to consent to the disposition of your case
before a State District Court Judge is entirely voluntary, and by consenting to the reference of this
matter to a State District Court Judge, the parties waive their right to a jury trial, and any appeal in the
case shall be taken directly to the Arkansas Supreme Court or Court of Appeals as authorized by law.

You should communicate your consent by completing the Form -- CONSENT TO PROCEED
BEFORE A STATE DISTRICT COURT JUDGE -- and return to the Circuit Clerk.




                                                      Circuit Clerk
                                                      Date: 03/16/2020
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        - 4:20-cv-00343-DPM
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                           IN THB    CiACv{,      COURT OF       Ri~c/        COUNTY, ARKANSAS
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               TO PR.OCEBD 1N PORMA PAUPBRIS
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           be permitted to p.rosecuto die above action In Fortna Pauperll. The Court being satisfied _of the
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           1rufh of the facts alleged and good cause appeadng thereto, IT IS HBRBBY ORDBRBD:
                   1. . ThatPl~ flrltt'1f               CMJrM. .         boauthoru:cdand.pemtlitedtoproceed

          in the above-captioned cause, In Forma Pauplrl.r.

                  2.       That tho Clerk of tho Court~ receive and file any necossarr forms or pleadings

          incident to petitioner's action without requiring tho payment of~ or cost&

                  3.       Thai the shotiff's of tho cound.ea of the State of Arkansas tball servo writs. or

         proceeses incident to petitioner's action without requJring the payment of fees or costs.
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                 · IT IS SO -ORDERED.
                  Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 78 of 87
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                                                                                                  Pulaski County Circuit Court
                                                                                            Terri Hollingsworth, Circuit/County Clerk
                                                                          2020-Mar-25 11 :49:40
    No. 60CV-20-1941 This summons is for WOLFE STREET FOUNDATION (narr e of Deootdaot).941
                                                                                                   C06D12: 5 Pages


                                               PROOF OF SERVICE

    D On _ _ _ _ _ _ _ [date] I personally delivered the summons and complaint to the individual
    at                                                      [place]; or

    D After making my purpose to deliver the summons and complaint clear, on _ _ _ _ _ _ __
    [date] I left the summons and complaint in the close proximity of the defendant by
    _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [describe how the
    summons and complaint was left] after he/she refused to receive it when I offered it to him/her; or

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  [address], a place where the defendant resides; or

"z6 On      '3 ~ W -rz__o       [date] I delivered the summons and complaint t o ~ ~               5teM,e/hP/l£A,J
    [name of individual], an agent authorized by appointment or by law to receive service of summons on
    behalf of /J/ot.£6 ft: &t-46V1tt?           [name of defendant]; or

    D On _ _ _ _ _ _ _ [date] at _ _ _ _ _ _ _ _ _ _ _ _ [address], where the
    defendant maintains and office or other fixed location for the conduct of business, during normal
    working hours I left the summons and complaint with

    [name and job description]; or

    D I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons
    and complaint on the defendant by certified mail, return receipt requested, restricted delivery, as
    shown by the attached signed return receipt.

    o I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I mailed a copy of the
    summons and complaint by first-class mail to the defendant together with two copies of a notice and
    acknowledgment and received the attached notice and acknowledgment form within twenty days after
    the date of mailing.

    D Other [specify]:



    •   I was unable to execute service because:




    My fee is $ _ _ .
                  Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 79 of 87
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     To be completed if service is by a sheriff or deputy sheriff:

     Date:    3-2-o--'2.0           SHEireMiFF l!RIC s.~,RKANSAS
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     To be completed if service is by a person other than a sheriff or deputy sheriff:

     Date:   ------                 By:------------
                                    [Signature of server]



                                    [Printed name]

     Address:
                -------------------------
     Phone:
              ------------
     Subscribed and sworn to before me this date:    ------

                                   Notary Public

     My commission expires: _ _ _ _ _ _ __

     Additional information regarding service or attempted service:
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              Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 80 of 87      'flll-{¼             llf)__)

                   IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                       HON. ALICE S. GRAY - 12TH DIVISION 6TH CIRCUIT ·- ·
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                    ARTHUR CARSON V WOLFE STREET FOUNDATION 6T.AL .                            . ".• ! •J')
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                                             60CV-20-1941

                                               SUMMONS

THE STATE OF ARKANSAS TO DEFENDANT:

 WOLFE STREET FOUNDATION
1015 S LOUISIANA ST
LITTLE ROCK, AR 72202

A lawsuit has been filed against you. The relief demanded is stated in the attached complaint. Within
30 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are incarcerated in any jail, penitentiary, or other correctional facility in Arkansas - you must file with
the clerk of this court a written answer to the complaint or a motion under Rule 12 of the Arkansas
Rules of Civil Procedure.

The answer or motion must also be served on the plaintiff or plaintiffs attorney, whose name and
address are:

ARTHUR CARSON
10434 W 36TH ST
Little Rock, AR 72204

If you fail to respond within the applicable time period, judgment by default may be entered against
you for the relief demanded in the complaint.

Additional notices:
•Notice of Right to Consent to Disposition of Case by a State District Court Judge



                                                     CLERK OF COURT
Address of Clerks Office

TERRI HOLLINGSWORTH, CIRCUIT CLERK
CIRCUIT COURT OF PULASKI COUNTY
401 W. MARKHAM                                       TIMOTHY BRYANT, DC
LITTLE ROCK, AR 72201
                                                     Date: 03/16/2020
              Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 81 of 87


                              NOTICE OF RIGHT TO CONSENT
                TO DISPOSITION OF CASE BY A STATE DISTRICT COURT JUDGE

In accordance with Administrative Order Number 18, you are hereby notified that upon the consent of
all the parties in a case, a State District Court Judge may be authorized to conduct all proceedings,
including trial of the case and entry of a final judgment. Copies of appropriate consent forms are
available from the Circuit Clerk.                       ·

You should be aware that your decision to consent or not to consent to the disposition of your case
before a State District Court Judge is entirely voluntary, and by consenting to the reference of this
matter to a State District Court Judge, the parties waive their right to a jury trial, and any appeal in the
case shall be taken directly to the Arkansas Supreme Court or Court of Appeals as authorized by law.

You should communicate your consent by completing the Form -- CONSENT TO PROCEED
BEFORE A STATE DISTRICT COURT JUDGE -- and return to the Circuit Clerk.




                                                      Circuit Clerk
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                              IN THE                COURT OF rUAS1<1' COUNTY, ARKANSAS

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                  JN_RB PBTITION OF frrt'1.vr
                  TO PROCEED IN PORMA PAUPBRIS
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                       2.     That the Clork of the Co~ ~all receive and file any n«10SS8ff forms or pleading.,

             inaident to petitioner's action without~ 1lio payment of~ or costs.

                       3.     That the sh8tl1fa of the coun1ies of the State of Arkansas shall serve writs. or
            proce$Ses incident to petitioner's action without requiring the payment of fees or costs.
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               Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 83 of 87
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                                                                                            Pulaski County Circuit Court
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                                                                                         2020-Mar-25 11 :49:40
No. 60CV-20-1941 This summons is for JAMES BOILING (name of Defendant)                      60CV-20-1941
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                                          PROOF OF SERVICE

~On 3 - 1.FJ -7,,o           [date] I personally delivered the summons and complaint to the individual
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D After making my purpose to deliver the summons and complaint clear, on _ _ _ _ _ _ __
[date] I left the summons and complaint in the close proximity of the defendant by
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ (describe how the
summons and complaint was left] after he/she refused to receive it when I offered it to him/her; or

• On _ _ _ _ _ _ _ _ [date] I left the summons and complaint with _ _ _ _ _ _ _ _ , a
member of the defendant's family at least 18 years of age, at _ _ _ _ _ _ _ _ _ _ __
[address], a place where the defendant resides; or

D On _ _ _ _ _ _ _ _ [date] I delivered the summons and complaint to _ _ _ _ _ _ __
[name of individual], an agent authorized by appointment or by law to receive service of summons on
behalf of _ _ _ _ _ _ _ _ _ _ _ [name of defendant]; or

D On _ _ _ _ _ _ _ [date] at _ _ _ _ _ _ _ _ _ _ _ _ [address], where the
defendant maintains and office or other fixed location for the conduct of business, during normal
working hours I left the summons and complaint with

[name and job description]; or

• I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons
and complaint on the defendant by certified mail, return receipt requested, restricted delivery, as
shown by the attached signed return receipt.

•  I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I mailed a copy of the
summons and complaint by first-class mail to the defendant together with two copies of a notice and
acknowledgment and received the attached notice and acknowledgment form within twenty days after
the date of mailing.

•   Other [specify]:



•   I was unable to execute service because:




My fee is $ _ _ .
-              ..Case 4:20-cv-00343-DPM
               '   -
                                               Document 1 Filed 03/27/20 Page 84 of 87



    To be completed if service is by a sheriff or deputy sheriff:

    Date:   3- 2.          -W
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                                   SHERIFF OF ______ COUNTY, ARKANSAS
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                                             name, title, and badge number]

    To be completed if service is by a person other than a sheriff or deputy sheriff:

    Date: _ _ _ _ __               By: _ _ _ _ _ _ _ _ _ __
                                   [Signature of server]


                                   [Printed name]

    Address:
               ------------------------
    Phone: _ _ _ _ _ _ _ _ _ __

    Subscribed and sworn to before me this date: - - - - -


                                   Notary Public

    My commission expires: _ _ _ _ _ _ __

    Additional information regarding service or attempted service:
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               '   '
                       Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 85 of 87


                           IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                               HON. ALICE S. GRAY -12TH DIVISION 6TH CIRCUIT r· --                ·          - ,
                                                                                      r,   r      .· .        ,l • !
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                            ARTHUR CARSON V WOLFE STREET FOUNDATION ET AL
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                                                 60CV-20-1941

                                                   SUMMONS

    THE STATE OF ARKANSAS TO DEFENDANT:

    JAMES BOILING
    1015 S LOUISIANA ST
    LITTLE ROCK, AR 72202

    A lawsuit has been filed against you. The relief demanded is stated in the attached complaint. Within
    30 days after service of this summons on you (not counting the day you received it) - or 60 days if you
    are incarcerated in any jail, penitentiary, or other correctional facility in Arkansas - you must file with
    the clerk of this court a written answer to the complaint or a motion under Rule 12 of the Arkansas
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    The answer or motion must also be served on the plaintiff or plaintiffs attorney, whose name and
    address are:

    ARTHUR CARSON
    10434 W 36TH ST
    Little Rock, AR 72204

    If you fail to respond within the applicable time period, judgment by default may be entered against
    you for the relief demanded in the complaint.

    Additional notices:
    •Notice of Right to Consent to Disposition of Case by a State District Court Judge



                                                         CLERK OF COURT
    Address of Clerks Office

    TERRI HOLLINGSWORTH, CIRCUIT CLERK
    CIRCUIT COURT OF PULASKI COUNTY
    401 W. MARKHAM                                       TIMOTHY BRYANT, DC
    LITTLE ROCK, AR 72201
                                                         Date: 03/16/2020
             Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 86 of 87


                              NOTICE OF RIGHT TO CONSENT
                TO DISPOSITION OF CASE BY A STATE DISTRICT COURT JUDGE

In accordance with Administrative Order Number 18, you are hereby notified that upon the consent of
all the parties in a case, a State District Court Judge may be authorized to conduct all proceedings,
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matter to a State District Court Judge, the parties waive their right to a jury trial, and any appeal in the
case shall be taken directly to the Arkansas Supreme Court or Court of Appeals as authorized by law.

You should communicate your consent by completing the Form -- CONSENT TO PROCEED
BEFORE A STATE DISTRICT COURT JUDGE -- and return to the Circuit Clerk.




                                                      Circuit Clerk
                                                      Date: 03/16/2020
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                       Case 4:20-cv-00343-DPM Document 1 Filed 03/27/20 Page 87 of 87


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                              INTHBCit<Cv{, COURTOF FUAstv'                    COUNTY,ARI<ANSAS
                  JN RB PBTITION OF N-th11t (~
                  TO PROCEED IN FORMA PAUPBRIS·
                                                                                   CASBNO. ul)OJ-20- / 'f't/

                            _QRDER GRANTING
                                      )     LEAD TO PJWC§IP_!NfOW
                                                     .    .
                                                                  fAUPERis
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                        On tbis day oomes on to be heard tho petftlon of /tr--fhvr C~                 ~ belsho      -
                 be permitted to prosecuto 1he above ao1ion/n Forma Pauperls. The Court being satisfied _of the
                                '                    -                               .
                 truth of the facts alleged and good cause appearing thereto, IT IS HEREBY ORDERED:
                        1. · That p ~ ltr-&11r ~ ·                         be BU'lhori=d and·permffted to proceed

             in the above-captioned cause~ In Forma Paup,rls.

                       2.     That the Clerk of the Co~~ receive and filo any necessary forms or pleadings

             incident to petitioner's action without requiring tlie pa)<DlCJlt of~ or- costs.
                       3.     That the shd:lffs of 1ho counties of the State of Arkanm 1ball serve writs. or
            proce$.1es incident to petitioner'a action without requiring the payment of fees or costs.
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                      · IT IS S()·ORDERED.
